                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
v.                                                )          No. 3:10-CR-159
                                                  )
KEVIN TRENT BUSSELL,                              )          (VARLAN/SHIRLEY)
GENEVA BUSSELL,                                   )
NICOLE SEAL, and                                  )
JESSICA WILSON,                                   )
                                                  )
                      Defendants.                 )


                            REPORT AND RECOMMENDATION

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This case is before the Court on eight pending motions to suppress

the evidence seized in the execution of search warrants:

               (1) Defendant Leonard Bussell’s Motion to Suppress Evidence
               Seized from 445 Moody Hill Road [Doc. 172], filed on March 11,
               2011;

               (2) Motion to Suppress [Doc. 179], filed on March 11, 2011, by
               Defendant Jessica Wilson;

               (3) Motion to Suppress [Doc. 195], filed on March 18, 2011, by
               Defendant Nichole Seal;

               (4) Motion to Suppress No. 1 [Doc. 204], filed on March 25, 2011,
               by Defendant Kevin Trent Bussell;

               (5) Motion to Suppress No. 2 [Doc. 205], filed on March 25, 2011,
               by Defendant Kevin Trent Bussell;


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               (6) Motion to Suppress No. 3 [Doc. 206], filed on March 25, 2011,
               by Defendant Kevin Trent Bussell;

               (7) Motion to Suppress No. 4 [Doc. 207], filed on March 25, 2011,
               by Defendant Kevin Trent Bussell; and

               (8) Motion to Suppress No. 5 [Doc. 209], filed on March 25, 2011,
               by Defendant Kevin Trent Bussell.

Defendant Geneva Bussell was permitted [Doc. 343] to join in the motion [Doc. 172] by Leonard

Bussell1 and three of the motions [Docs. 204, 205, and 207] filed by Defendant Kevin Trent Bussell.

The parties appeared before the undersigned for a motion hearing on May 13, 2011. Assistant

United States Attorney Alexandra Hui appeared on behalf of the Government. The following

defense counsel were present, along with their clients: Attorney John E. Eldridge, representing

Defendant Kevin Trent Bussell; Attorney G. Scott Green, representing Defendant Leonard King

Bussell; Attorney Tommy K. Hindman, representing Defendant Geneva Bussell; Attorney Jonathan

D. Cooper, representing Defendant Nicole Seal; and Attorney Robert R. Kurtz, representing

Defendant Jessica Wilson. After hearing the arguments of the parties, the Court took the motions

under advisement.




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        Defendant Leonard Bussell died on October 6, 2011 [Ex. 1 to Doc. 346]. Counsel for
Defendant Leonard Bussell filed a Motion to Dismiss by Reason of Abatement on October 24,
2011 [Doc. 345]. The case was abated [Doc. 353] with regard to Defendant Leonard Bussell on
December 2, 2011. While the instant motion to suppress is no longer relevant to Defendant
Leonard Bussell’s case, the findings of the Court in this Report and Recommendation shall apply
to Defendant Geneva Bussell, who was permitted [Doc. 343] to adopt this motion by Defendant
Leonard Bussell. Although Defendant Kevin Trent Bussell was also permitted [Doc. 343] to
adopt Defendant Leonard Bussell’s motion, Kevin Bussell has failed to show that he has a
legitimate privacy interest in Leonard and Geneva Bussell’s residence, which is the subject of
the motion.

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                                     II. BACKGROUND

              The Defendants are charged in varying counts of a seven-count Indictment [Doc. 3]

with conspiracy to distribute controlled substances, possession of controlled substances with the

intent to distribute, firearms offenses, and conspiracy to launder drug proceeds. The suppression

issues arise out of numerous searches of residences and a houseboat in Tennessee and Florida in

November 2010. On November 18, 2010, Internal Revenue Service (IRS) Special Agent Richard

T. Nelson presented a “Master Affidavit” to United States Magistrate Judge H. Bruce Guyton in

support of search warrants to search residences in Tazewell, Tennessee, and a houseboat in

Speedwell, Tennessee. On November 23, 2010, law enforcement officers searched the following

pursuant to search warrants supported by the Master Affidavit: Leonard and Geneva Bussell’s

residence at 445 Moody Hill Road, Tazewell, Tennessee; Kevin Trent Bussell’s residence at 439

Moody Hill Road, Tazewell, Tennessee; and Kevin Trent Bussell’s houseboat in Speedwell,

Tennessee.

              Also, on November 18, 2010, Agent Nelson obtained nine seizure warrants for items

of Kevin Trent Bussell’s personal property (vehicles, boats, and jet skis), which Agent Nelson

believed would be subject to forfeiture. These nine seizure warrants were also based upon Agent

Nelson’s Master Affidavit. On November 22, 2010, IRS Agent Brian Grove obtained a seizure

warrant for a turquoise BMW belonging to Kevin Trent Bussell. In support of this seizure warrant,

Agent Grove provided an affidavit. These ten vehicles and watercraft were seized on November 23,

2010.

              On November 19, 2010, IRS Special Agent Danielle Barto obtained two search

warrants, from United States Magistrate Judge Anthoney E. Porcelli in the Middle District of


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Florida, based upon her affidavit (“Barto Affidavit”). These search warrants authorized the search

of two residences, 6065 and 6081 38th Avenue North, St. Petersburg, Florida, both belonging to

Kevin Trent Bussell. Law enforcement searched these houses on November 23, 2010.

               On November 26, 2010, Agent Melvin Bayless of the 8th Judicial Drug Task Force

presented a single affidavit to Claiborne County Sessions Judge Robert M. Estep in support of

search warrants for the residences of Nicole Seal at 1248 Dogwood Road, Tazewell, Tennessee, and

Jessica Wilson at 207 Makalley Lane, Tazewell, Tennessee. Officers executed both of these search

warrants on that same day.



                              II. POSITIONS OF THE PARTIES

               Defendant Kevin Trent Bussell asks the Court to suppress all evidence seized during

the November 23, 2010 searches of his home, 439 Moody Hill Road, in Tazewell, Tennessee [Doc.

204], his houseboat [Doc. 205], and his two residences in St. Petersburg, Florida [Docs. 206 and

207]. He argues that these searches violated his rights under the Fourth Amendment because (1) the

issuing judge did not have probable cause to issue the search warrants because there was no nexus

between the property to be searched and the criminal activity alleged, (2) the search warrants are

overly broad because they permit the executing officers to search and to seize any and all items in

the various properties; (3) the search warrants were improperly executed because the agents seized

items outside the scope of the search warrants, and (4) the search warrants do not state the time they

were executed in violation of Rule 41 of the Federal Rules of Criminal Procedure.




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               Defendant Geneva Bussell2 moves [Doc. 172] for the suppression of all evidence

seized during the November 23, 2010 search of her residence, 445 Moody Hill Road, Tazewell,

Tennessee. She contends that the Master Affidavit fails to provide probable cause for the search

warrant because (1) the information in the affidavit is stale, (2) the information in the affidavit is

conclusory and unreliable, and (3) no nexus exists between the alleged criminal activity and her

residence.3 Defendant Geneva Bussell also joins [Docs. 252 and 343] in Defendant Kevin Trent

Bussell’s contention that the search warrant is overly broad because it permits the executing officers

to search and to seize any and all items in her home.

               Defendant Nicole Seal asks [Doc. 195] the Court to suppress all evidence gained in

the November 26, 2010 search of her residence, 1248 Dogwood Road, Tazewell, Tennessee. She

contends that the affidavit supporting the search warrant fails to provide probable cause to issue the

search warrant because it fails (1) to show the reliability of two confidential sources and (2) to

demonstrate a nexus between her residence and the criminal activity alleged.

               Defendant Jessica Wilson [Doc. 179] moves for the suppression of all evidence

gained in the November 26, 2010 search of her residence, 207 Makalley Lane, Tazewell, Tennessee.

She also argues that the supporting affidavit fails to provide probable cause for three primary

reasons: (1) the affidavit does not establish a nexus existed at the time of the search between her


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        These arguments are actually made by Defendant Leonard Bussell and adopted by
Defendant Geneva Bussell. For purposes of this report, the Court will discuss the arguments as
if advocated solely by Defendant Geneva Bussell, because Defendant Leonard Bussell is
deceased.
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        Defendant Geneva Bussell also argues that information gained through improperly
authorized wire taps cannot be considered as part of the probable cause equation. The Court has
considered and recommended the denial of the Defendants’ motion to suppress evidence gained
pursuant to the wire taps in a separate Report and Recommendation [Doc. 349].

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residence and the criminal activity alleged, (2) the information from the affiant is conclusory and

uncorroborated, and (3) the affiant omitted information material to the reliability of a confidential

informant. With regard to this third argument, she requests that the Court permit an evidentiary

hearing.

               Defendant Kevin Trent Bussell also contends [Doc. 209] that ten articles of his

personal property (vehicles, boats, and jet ski’s) must be suppressed as “fruit of the poisonous tree”

because they were seized as a result of the illegal searches of his Tennessee and Florida residences

and his houseboat.

               The Government opposes [Docs. 218, 219, 220, 223, 225, and 226] all of the motions

to suppress, contending that the supporting affidavits contain probable cause to support the search

of each of the residences, that the search warrants for Kevin Trent Bussell’s and Geneva Bussell’s

residences sufficiently particularized the items to be seized, and that the search warrant for Kevin

Trent Busell’s Tennessee residence was properly executed. Finally, the Government also argues that

the ten items of Defendant Kevin Trent Bussell’s personal property were properly seized pursuant

to seizure warrants.



                                          III. ANALYSIS

               The Fourth Amendment requires that “[n]o warrants shall issue, but upon probable

cause, supported by oath or affirmation, and particularly describing the place to be searched and the

persons or things to be seized.” U.S. Const. amend. IV. The Defendants argue that their rights

under the Fourth Amendment were violated because the search warrants were not supported by




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probable cause. Additionally, Defendants Kevin Trent Bussell and Geneva Bussell4 contend that

the search warrants for their residences lack particularity. Finally, Defendant Kevin Trent Bussell

challenges the execution of the search warrants for his residences and houseboat. The Court will

address these three issues–probable cause, particularity, and execution–each in turn. Finally, the

Court will take up Defendant Kevin Trent Bussell’s contention that ten of his vehicles and watercraft

must be returned to him as fruit of the poisonous tree.



                                        A. Probable Cause

               As set out above, the Fourth Amendment requires probable cause for the issuance of

a search warrant. Probable cause to search is “a fair probability that contraband or evidence of a

crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). To make

such a showing “requires only a probability or substantial chance of criminal activity, not an actual

showing of such activity.” Id. at 244 n.13. Thus, the Supreme Court has observed that

               probable cause is a flexible, common-sense standard. It merely
               requires that the facts available to the officer would “warrant a man
               of reasonable caution in the belief,” Carroll v. United States, 267 U.S.
               132, 162, . . . (1925), that certain items may be contraband or stolen
               property or useful as evidence of a crime; it does not demand any
               showing that such a belief be correct or more likely true than false.
               A “practical, nontechnical” probability that incriminating evidence


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         Defendant Geneva Bussell has moved [Doc. 252] and was permitted [Doc. 343] to adopt
the motions to suppress made by Defendant Kevin Trent Bussell. Although Geneva Bussell has
no apparent legitimate privacy interest in Kevin Trent Bussell’s residences and houseboat, she
asks to join in Kevin Trent Bussell’s factual and legal arguments regarding the “deficiency and
overbreadth” of the Master Affidavit, which also supported the search warrant issued for her
residence. Accordingly, the Court will deem Geneva Bussell to be making the same arguments
as Kevin Trent Bussell, where relevant. The Court does not deem Geneva Bussell to be joining
in the allegations regarding the execution of the search warrant at her residence, because she
points to no items that she contends were seized outside of the scope of the search warrant.

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               is involved is all that is required. Brinegar v. United States, 338 U.S.
               160, 176, . . . (1949).

Texas v. Brown, 460 U.S. 730, 742 (1983). In other words, probable cause is “reasonable grounds

for belief supported by less than prima facie proof but more than mere suspicion.” United States v.

Bennett, 905 F.2d 931, 934 (6th Cir. 1990). Whether probable cause to issue a search warrant exists

is evaluated by looking at the totality of the circumstances. Gates, 462 U.S. at 238.

               The issuing judge’s determination that probable cause exists is entitled to “‘great

deference.’” United States v. Allen, 211 F.3d 970, 973 (6th Cir. 2000) (quoting Gates, 462 U.S. at

236). This deferential standard promotes the preference for the use of search warrants as opposed

to warrantless searches. Id. “The task of the issuing magistrate is simply to make a practical,

common-sense decision whether, given all the circumstances set forth in the affidavit before him,

. . . there is a fair probability that contraband or evidence of a crime will be found in a particular

place.” Gates, 462 U.S. at 238. The “duty of a reviewing court is simply to ensure that the

magistrate had a substantial basis for concluding that probable cause existed.” Id. at 238-39.

               In the instant case, all four defendants argue that the supporting affidavits failed to

provide probable cause for the issuance of the search warrants for their homes and houseboat. The

Court will examine the four corners of the various affidavits to determine whether probable cause

exists to support the search of (1) Defendant Kevin Trent Bussell’s Tennessee residence and the

surrounding acreage and his houseboat (Master Affidavit), (2) Defendant Geneva Bussell’s

residence (Master Affidavit), (3) Defendant Kevin Trent Bussell’s Florida residences (Barto

Affidavit), (4) Defendant Nicole Seal’s residence (Bayless Affidavit), and (5) Defendant Jessica

Wilson’s residence (Bayless Affidavit).




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(1) Defendant Kevin Trent Bussell’s Tennessee Residence, the Surrounding Acreage, and his

Houseboat

               Defendant Kevin Trent Bussell contends [Docs. 204 and 205] that the Master

Affidavit by IRS Special Agent Richard T. Nelson fails to provide probable cause to support the

search of his Tennessee residence, the surrounding wooded acreage,5 and his houseboat.

Specifically, he argues that the Master Affidavit fails to show a nexus between his residence, the

wooded parcel, or the houseboat and the alleged criminal activity. He also contends that the Master

Affidavit does not show that the confidential informants are reliable or show that law enforcement


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         Defendant Kevin Trent Bussell seeks to suppress the evidence seized in the search of his
residence (439 Moody Hill Road), his parents’ residence (445 Moody Hill Road), his
grandmother’s residence (443 Moody Hill Road), and a 10.5 acre parcel adjacent to these houses
and owned by his parents. The Defendant summarily states in a footnote [Doc. 204, p.1, n.1]
that he has a reasonable expectation of privacy in these properties. In order to contest whether a
search comports with the Fourth Amendment, the defendant must have “a reasonable expectation
of privacy” in the location searched. Rakas v. Illinois, 439 U.S. 128, 143 (1978). “It is
well-established that a defendant claiming that a search violated his Fourth Amendment rights
has the burden of demonstrating that he had a legitimate expectation of privacy in the place that
was searched.” United States v. Talley, 275 F.3d 560, 563 (6th Cir. 2001). Whether the
defendant enjoys a reasonable expectation of privacy does not turn solely upon the defendant’s
subjective belief but also depends upon (1) the defendant’s interest in and control of the place
searched, (2) any measures the defendant took to ensure privacy, and (3) whether society
recognizes the defendant’s expectation as reasonable. United States v. Padin, 787 F.2d 1071,
1075-76 (6th Cir.), cert. denied, 479 U.S. 823 (1986). In the instant case, the Defendant fails to
make any showing of his privacy interest in his parents’ or his grandmother’s homes.
Accordingly, the Court agrees with the Government that the Defendant does not have standing to
challenge the searches of 443 and 445 Moody Hill Road, the residences of his grandmother and
his parents. With regard to the wooded acreage adjacent to Kevin Trent Bussell’s property, the
Court likewise does not have much evidence from which it can determine the Defendant’s
expectation of privacy. Nevertheless, the Master Affidavit describes this parcel as “part of the
general family compound in which BUSSELL, LYNN, and GENEVA reside.” [Doc. 218, Exh.
3, ¶63] Aerial photographs of the residences contained in Attachment A to the Master Affidavit
show all three houses to be accessed by a single driveway and surrounded by woods. Based on
this paucity of information, the Court finds that Defendant Kevin Trent Bussell may have a
legitimate expectation of privacy in the wooded parcel and will consider it in the probable cause
analysis.

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undertook any security measures, such as searching the informants before and after the drug

purchases. He argues that when the information from the confidential informants and the conclusory

statements of the affiant are set aside, the Master Affidavit does not provide probable cause.

               The Government responds [Doc. 218] that the affidavit provides ample basis for the

issuance of a search warrant for the Defendant’s residence because it provides detailed information

as to drug activity occurring at the Defendant’s residence and describes intercepted telephone

conversations in which the Defendant Kevin Trent Bussell discusses the sale of drugs from his

residence. Also, the Government points out that Agent Nelson stated in the Master Affidavit that

based upon his training and experience, drug traffickers routinely maintain evidence of their drug

crimes at their residences. With regard to the Defendant’s houseboat, the Government states [Doc.

219] that the Defendant’s request should be denied as moot because no evidence was seized in the

search of the houseboat.

               An affidavit offered in support of a search warrant “must indicate a nexus between

the place to be searched and the evidence sought and this nexus may be established by the nature

of the items and normal inferences of where a person would keep such items.” United States v.

Hawkins, 278 F. App’x 629, 634 (6th Cir.), cert. denied 129 S. Ct. 588 (2008); see also United

States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004). In the present case, the affidavit [Doc. 218,

Exh. 3, ¶10.a.] reflects that 439 Moody Hill Road is the Defendant’s residence. The most

compelling evidence in the affidavit of a nexus between the residence and the sale of oxycodone and

other controlled substances are Defendant Kevin Trent Bussell’s own statements intercepted from

his home telephone. The affidavit [Doc. 218, Exh. 3, ¶48] relates a conversation between Defendant

Bussell and a customer on October 23, 2010, in which Bussell discusses the customer’s eight


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previous drug purchases at his residence. In the conversation, Bussell tells the customer to ask for

him, the next time the customer comes to Bussell’s residence to purchase oxycodone pills. This

conversation shows both historical and ongoing drug sales at 439 Moody Hill Road. The affidavit

[Doc. 218, Exh. 3, ¶50] also relates a conversation between Bussell and a customer on October 26,

2010, in which they negotiate the price per pill for 400 pills of various controlled substances and

Bussell states that he will get the order ready for the customer to pick up at his residence. These

allegations in the affidavit establish probable cause to believe that evidence of drug trafficking will

be found at Kevin Trent Bussell’s residence.

               Additionally, probable cause to search 439 Moody Hill Road is supported by

information from a confidential informant. The affidavit [Doc. 218, Exh. 3, ¶19] relates that a

confidential informant CS-1 “has personally purchased at least 1,000 oxycodone pills from

BUSSELL since May 2008, of which the majority of transactions occurred at BUSSELL’s

residence.” CS-1 also reports [Doc. 218, Exh. 3, ¶22] helping Defendant Kevin Trent Bussell count

$300,000 in cash from drug sales at Bussell’s residence, as well as observing “large quantities of

oxycodone pills and cash proceeds from the sale of narcotics” at the residence. These statements

provide a direct nexus between Kevin Trent Bussell’s Tennessee residence and his drug trafficking

activity based upon the personal observations of the confidential informant.

               Defendant Kevin Trent Bussell contends that information from CS-1 must be

discounted because the affidavit provides no indication that CS-1 is reliable. Under the totality of

the circumstances test, the reliability of a confidential informant remains an integral part of the

probable cause analysis. See Gates, 462 U.S. at 233 (holding that a confidential informants’s

reliability and basis of knowledge are “relevant considerations in the totality-of-the-circumstances


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analysis”); Allen, 211 F.3d at 972-73. An informant’s veracity, reliability, and basis of knowledge

are not rigid categories. Allen, 211 F.2d at 972-73. The reliability of a confidential source can be

demonstrated, at least in part, by prior occasions on which the informant has provided reliable

information, see United States v. Ferguson, 252 F. App’x 714, 721 (6th Cir. 2007), but no such

occasions are alleged in the Master Affidavit. Additionally, information provided by a confidential

informant can be independently corroborated by law enforcement. United States v. Jones, 159 F.3d

969, 974 (6th Cir. 1998). This independent police corroboration must be “substantial.” United

States v. Fraizier, 423 F.3d 526, 532 (6th Cir. 2005). Police do not necessarily have to corroborate

the criminal conduct observed by the informant; instead, corroboration of unincriminating facts can

be sufficient to establish probable cause. Gates, 462 U.S. at 243-44. “It is enough, for purposes of

assessing probable cause, that ‘corroboration through other sources of information reduced the

chances of a reckless or prevaricating tale,’ thus providing ‘a substantial basis for crediting the

hearsay.’” Id. at 244-45 (quoting Jones v. United States, 362 U.S. 257, 269, 271 (1960)).

               In the present case, the Master Affidavit provides corroboration of CS-1's information

through independent law enforcement investigation. In the Master Affidavit [Doc. 218, Exh. 3,

¶¶19-20 and 25], CS-1 describes Defendant Bussell’s trips to Florida with numerous individuals to

acquire controlled substances by paying for the individuals to visit various clinics and obtain

prescription medication, of which Bussell retained a portion. CS-1, who had accompanied Bussell

on several of these trips, stated that Bussell usually takes $60, 000 to $100,000 in cash, which he

hides in various locations in his vehicle while traveling. The Master Affidavit [Doc. 218, Exh. 3,

¶¶34-38] relates that on November 9, 2010, Tennessee Highway Patrol officers stopped Bussell for

speeding while traveling on Interstate 75 South en route to Florida. The affidavit states that officers


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intercepted telephone calls by Bussell, which alerted them that Bussell was leading a caravan to

Florida that day to get drugs. A search of Bussell’s truck revealed $35,873 hidden throughout the

vehicle, lists of pharmacies in South Florida, business cards of pain clinics and doctor’s offices in

southern Florida, and a rental agreement for 6081 38th Avenue North, St. Petersburg, Florida. The

information observed by police during this traffic stop corroborates the information from CS-1

regarding the trips to Florida.

               Intercepted telephone calls also corroborate the information from CS-1. The Master

Affidavit [Doc. 218, Exh. 3, ¶69] relates that on November 8, 2010, law enforcement intercepted

a telephone call from Bussell, in which he discussed taking “pill shoppers” to Florida to acquire

oxycodone. The affidavit [Doc. 218, Exh. 3, ¶¶77-78] also describes two intercepted telephone calls

from Bussell on November 10, 2010, in which Bussell describes the traffic stop the previous day,

states that the police took some of the cash hidden in his truck, and says that they did not find over

$60,000 hidden in the tail lights. This information also corroborates the information provided by

CS-1. Additionally, the affidavit [Doc. 218, Exh. 3, ¶24] sets out some of the contents of video and

audio recordings taken by CS-1 during a trip to Florida with Bussell in September 2010, which also

corroborate CS-1's information. Accordingly, the Court finds that the issuing judge could properly

rely on the information from CS-1 to determine probable cause existed to issue the search warrant

for Bussell’s Tennessee residence because CS-1's information was corroborated by independent law

enforcement investigation and by intercepted telephone conversations.

               The Defendant also faults the information from CS-1 because the Master Affidavit

contains no indication that any security measures, such as searching CS-1, occurred before CS-1

allegedly purchased drugs from him. The Government responds that the purchase of illegal drugs


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by CS-1 from Defendant Kevin Trent Bussell were not controlled drug buys under the supervision

of law enforcement but, instead, were CS-1's purchase of drugs to satisfy his own addiction. Thus,

CS-1 could not have been searched prior to the drug transactions, worn a recording device, or used

marked money. Accordingly, the corroboration of CS-1's information by police observations and

information heard on the intercepted telephone calls is particularly significant.

                 Finally, the Court observes that the Master Affidavit [Doc. 218, Exh. 3, ¶8] relates

that based on his training and experience, Agent Nelson knows that drug dealers keep drugs, drug

paraphernalia, and records of drug deals at their residences. The Court of Appeals for the Sixth

Circuit has affirmed the propriety of an inference that a drug dealer stores drugs in his own home,

even when no drug transactions occurred there. United States v. Williams, 544 F.3d 683, 687 (6th

Cir. 2008), cert. denied, 130 S. Ct. 108 (2009); United States v. Miggins, 302 F.3d 384, 393 (6th

Cir. 2002) (collecting cases from other circuits); see also United States v. Goward, 188 F. App’x

355, 358 (6th Cir. 2006) (reaffirming the reasoning in Miggins that “it is reasonable to suppose that

a drug dealer stores narcotics and equipment used in the distribution of narcotics at his home, even

though no drug trafficking was observed to occur there”). While this information from Agent

Nelson alone would not necessarily be sufficient to provide probable cause to search 439 Moody

Hill Road, it is a factor contributing to the probable cause analysis.

               Accordingly, the Court finds that the totality of the circumstances described in the

Master Affidavit, including the intercepted telephone calls, the information from CS-1, and Agent

Nelson’s inference that drug dealers keep controlled substances, proceeds, and records of drug sales

at their residences, provided probable cause for the search of Defendant Kevin Trent Bussell’s

residence at 439 Moody Hill Road.


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               Defendant Kevin Trent Bussell also argues that the Master Affidavit does not provide

probable cause to permit the search of the wooded acreage adjacent to his Tennessee residence. The

Master Affidavit [Doc. 218, Exh. 3, ¶¶52-54] relates three telephone conversations intercepted on

November 2, 2010, from Kevin Trent Bussell’s home telephone. In the first conversation, Bussell

tells Trent Mason, who is speaking on the telephone at Bussell’s residence, that police have just

stopped someone leaving his residence after purchasing drugs and directs Mason “to hide everything

in the house[.]” Shortly thereafter, two females at the residence make telephone calls from Bussell’s

residence and state that Mason was hiding or had hid the narcotics in the woods on the land

surrounding Kevin Trent Bussell’s home. The Court finds these conversations provide a nexus

between the drug trafficking activity at Bussell’s residence and the wooded parcel. Thus, the Court

finds that the issuing judge had probable cause to issue a search warrant for the wooded parcel.

               Finally, Defendant Kevin Trent Bussell argues [Doc. 205] that the Master Affidavit

fails to provide a nexus between his houseboat and any criminal activity. The Government responds

[Doc. 219] that the Defendant’s motion should be denied as moot, because nothing was seized from

the houseboat. In support of this contention, the Government has provided a copy of the search

warrant return for the November 23, 2010 search of the houseboat, which states that no property was

seized. Accordingly, the Court agrees that the Defendant Kevin Trent Bussell’s Motion to Suppress

No. 2 [Doc. 205] should be denied as moot.



(2) Defendant Geneva Bussell’s Tennessee Residence.

               Defendant Geneva Bussell also contends [Doc. 172] that the Master Affidavit fails

to provide probable cause for the search of her residence at 445 Moody Hill Road in Tazewell,


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Tennessee. She asserts that the information in the Master Affidavit purporting to link criminal

activity to her residence is stale, comes from unreliable and uncorroborated sources, and fails to

provide a nexus. The Government responds [Doc. 223] that the information in the Master Affidavit

relating to the search of Geneva Bussell’s residence is fresh, reliable, and provides a nexus showing

that evidence of drug trafficking would be found at 445 Moody Hill Road.

               The following portions of the Master Affidavit provide information about the

involvement of either Geneva or Leonard Bussell or their residence in the alleged conspiracy:

               (1) Paragraphs 22 and 23 relate that CS-1 said that he once purchased
               oxycodone from Kevin Trent Bussell and was told to leave the
               payment under the flower pot at Geneva and Leonard Bussell’s
               residence. CS-1 believes that Geneva and Leonard Bussell store
               money and drugs at their residence for Kevin Trent Bussell.

               (2) Paragraph 33 states law enforcement’s belief that the intercepted
               telephone conversations reveal that Kevin Trent Bussell works
               closely with his parents Geneva and Leonard Bussell to distribute
               controlled substances and launder the proceeds. The affiant asserts
               that intercepted calls show that Geneva and Leonard Bussell store
               pills and tens of thousands of dollars in cash for Kevin Trent Bussell
               at their residence.

               (3) Paragraphs 55 and 56 begin the section entitled “Probable Cause
               Supporting the Search of 445 Moody Hill Road, Tazewell, Tennessee
               37879” and establish that this is the residence of Geneva and Leonard
               Bussell.

               (4) Paragraph 57 states that at approximately 5:19 p.m., on November
               5, 2010, Trent Mason called (from Kevin Trent Bussell’s home
               telephone) Kevin Trent Bussell (who answered on Amanda Bible’s
               cellular telephone) and told him that he (Mason) and Jeff Adcock
               “had counted some money and it came out to $23,002.” Kevin Trent
               Bussell “directed Mason to ‘band it up and take it down to mom[.]’”
               The affidavit further relates that “Mason stated that he would take it
               to BUSSELL’s mom and BUSSELL stated he would call her and see
               if she could get Mason ‘something.’” The affiant then states that
               based upon his training, experience, and familiarity with this
               investigation, “‘something’ is believed to be code for oxycodone

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         pills.”

         (5) Paragraph 58 states that on November 5, 2010, at around 7:53
         p.m., Kevin Trent Bussell called his home telephone from Amanda
         Bible’s cellular telephone and spoke with Trent Mason. Bussell
         asked to speak with Jeff Adcock and, after confirming with Adcock
         that no one could hear him, directed Adcock to drive Bussell’s truck
         to meet him. Bussell told Adcock “to stop at ‘mom and dad’s, she’s
         gonna give you 30 or 40 of them.’” Bussell then told Adcock to make
         sure that no one knew where he was going. The affiant states that
         based on his familiarity with this investigation, he believes Bussell
         told Adcock to go to 445 Moody Hill Road, where Geneva Bussell
         would give him 30 or 40 oxycodone pills.

         (6) Paragraph 59 relates that on November 5, 2010, at approximately
         8:05 p.m., Kevin Trent Bussell called his home telephone from
         Amanda Bible’s cellular telephone and spoke with Trent Mason.
         “Mason asked BUSSELL if he would be able to go to BUSSELL’s
         parents’ house and get a ‘couple of them until tomorrow.’” Kevin
         Trent Bussell told Mason that “his dad was asleep and his mom did
         not want to wake him up, but when he woke up in a little bit,
         BUSSELL would ask him (LYNN) if he would give Mason a
         couple.” Agent Nelson states that based upon his training,
         experience, and knowledge of this investigation, “‘a couple of them’
         is code for oxycodone pills.”

         (7) Paragraph 60 of the Master Affidavit states that on November 7,
         2010, at 12:01 p.m., Trent Mason called Leonard Bussell at Leonard
         Bussell’s home telephone number. Mason was returning a call from
         earlier that day. “LYNN told Mason that he had ‘found some of them
         30 milligram’ (known to be code for 30 milligram oxycodone pills).
         Mason stated he would be over to see Lynn.”

         (8) Paragraph 62 relates generally that “as stated above, CS-1 has
         stated, and wire interceptions have corroborated, that LYNN and
         GENEVA also store cash proceeds and controlled substances.”

         (9) Paragraph 64 states generally, “[a]s referenced throughout this
         affidavit, BUSSELL and his co-conspirators, including his parents,
         LYNN and GENEVA, are known to conceal controlled substances
         and large amounts of currency throughout the family compound.”


                                     (i) Staleness

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                Defendant Geneva Bussell argues that the information contained in the affidavit

relating to 445 Moody Hill Road, either contains no reference to time or is stale. She contends that

the information from CS-1 (numbers 1 and 8 above) contains no time reference and could have

occurred at any time. She states that the only dates linked with the alleged presence of narcotics or

proceeds at her residence are November 5-7, 2009 (numbers 4-7 set out above). She argues that

given the nature of the items sought–narcotics and related evidence, which are rapidly disseminated

or consumed–the affidavit fails to provide probable cause to believe that the contraband or evidence

would be at her house nearly two weeks after the seventy-two-hour period related in the affidavit.

                The Government responds that the Master Affidavit provides fresh information that

the listed evidence would be found at Geneva Bussell’s residence. It argues that the information

from CS-1 that the Bussell parents stored drugs and money at their residence for their son and that

CS-1 had left money to pay for drugs under the flower pot at Geneva Bussell’s residence is refreshed

by more recent information, i.e., the intercepted telephone calls on November 5 and 7, 2010. The

Government also maintains that the passage of eleven days between the last intercepted telephone

call on November 7, 2010, and the issuance of the search warrant on November 18, 2010, did not

render the information stale because of the ongoing nature of the criminal conspiracy in this case.

                Whether information in an affidavit is stale does not depend upon an arbitrary time

limitation but is tied to the nature of the crime, the criminal, the location of the search, and the items

sought. United States v. Spikes, 158 F.3d 913, 923-24 (6th Cir. 1998), cert. denied, 525 U.S. 1086

(1999).

                [C]ourts must also concern themselves with the following variables:
                “the character of the crime (chance encounter in the night or
                regenerating conspiracy?), the criminal (nomadic or entrenched?), the
                thing to be seized (perishable and easily transferable or of enduring

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               utility to its holder?), the place to be searched (mere criminal forum
               of convenience or secure operational base?), etc.”


Id. at 923 (quoting Andresen v. State, 331 A.2d 78, 106 (Md. Ct. Spec. App. 1975)). The length of

time from the events in the affidavit to the warrant application is important but not controlling. Id.

at 923. “Evidence of ongoing criminal activity will generally defeat a claim of staleness.” United

States v. Greene, 250 F.3d 471, 481 (6th Cir. 2001).

               In the present case, the Court finds that the variables listed in Spikes weigh in favor

of finding that the information in the Master Affidavit was not stale. With regard to the character

of the crime, while the Defendant is correct that narcotics held for sale are generally only at a given

location for a short time, the affidavit details an ongoing conspiracy to procure and sell prescription

drugs and to launder the proceeds. In paragraph 19 of the affidavit, CS-1 states that he has

purchased at least 1,000 oxycodone pills from Kevin Trent Bussell since May 2008. The affidavit

details Kevin Trent Bussell’s acquisition of prescription drugs for resale in Michigan and in Florida.

The affidavit relates [Doc. 218, Exh. 3, ¶¶34-38] that on November 9, 2010, Kevin Trent Bussell

and three coconspirators were stopped by the Tennessee Highway Patrol en route to Florida to

obtain drugs. The most recent intercepted call contained in the affidavit is from November 13, 2010

[Doc. 218, Exh. 3, ¶70], when Kevin Trent Bussell, speaking on Amanda Bible’s cellular telephone,

spoke to “Tonya” about helping her purchase drugs from Jackie Mize in Tennessee, since he

(Bussell) was in Florida. Given the ongoing nature of this drug conspiracy, the Court finds it is

likely that controlled substances or drug proceeds would still be stored at Geneva Bussell’s residence

on November 18, 2010. See, e.g., Greene, 250 F.3d 471, 481 (6th Cir. 2001) (holding that a search

warrant obtained twenty-three months after the confidential informant’s last drug transaction at the


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residence was not based on stale information, due to the “continuous and ongoing” nature of the

drug trafficking involved).

               The evidence contained in the affidavit shows that Geneva and Leonard Bussell were

“entrenched,” rather than “nomadic.” At all relevant times, the affidavit relates them to be living

at 445 Moody Hill Road, a location described in the affidavit as being part of “the family

compound.” The Court also finds that the location to be searched–Geneva and Leonard Bussell’s

home–was a “secure operational base” indicating that evidence of the drug conspiracy would be at

their residence on November 18, 2010. “[W]here the criminal activity occurred in a ‘secure

operational base,’ the passage of time becomes less significant.” Greene, 250 F.3d at 481. The

criminal activity alleged in paragraphs 57-60, storing drug proceeds and dispensing oxycodone pills,

occurred in Geneva Bussell’s home, a factor that indicates that evidence of the drug trafficking

conspiracy would still be there eleven days later.

               The Defendant emphasizes that the nature of the items to be seized (narcotics) reveals

the information in the affidavit to be stale. The Sixth Circuit has distinguished drugs from items of

enduring value to the criminal, such as child pornography, observing that “drugs are usually sold

and consumed in a prompt fashion.” United States v. Frechette, 583 F.3d 374, 378 (6th Cir. 2009).

Nevertheless, the appellate court acknowledged that, even with regard to controlled substances,

evidence of an ongoing and continuing drug trafficking operation mitigates the transient nature of

drugs. Id. (citing United States v. Kennedy, 427 F.3d 1136, 1142 (8th Cir. 2005)). Accordingly,

although some of the evidence sought in the instant case, such as controlled substances and cash,

is easily transferable, the Court finds that the information in the affidavit was not stale due to the

permanence of the location and the ongoing nature of the conspiracy.


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                            (ii) Conclusory Statements and Reliability

               Defendant Geneva Bussell also argues that the information in the affidavit relating

to 445 Moody Hill Road is conclusory and unreliable. She contends that Agent Nelson’s conclusory

statements (paragraphs 33 and 64) that Leonard and Geneva Bussell store drugs and proceeds at their

home for Kevin Trent Bussell add nothing to the probable cause evaluation. “The Supreme Court

has held that a warrant application must provide sufficient information to allow an issuing judge to

independently determine probable cause; his action cannot be a mere ratification of the conclusions

of others.” United States v. Gunter, 551 F.3d 472, 480 (6th Cir. 2008) (citing Gates, 462 U.S. at

239). Geneva Bussell also characterizes the statement of CS-1 that he or she “believes” that the

Bussell parents stored contraband in their house as unreliable. The Government argues that the

conclusions of Agent Nelson are supported by facts provided by CS-1 and the intercepted telephone

conversations and included in the affidavit.

               The Court agrees with the Government that the conclusions by Agent Nelson in

paragraphs 33 and 64, that Leonard and Geneva Bussell store controlled substances and the proceeds

from drug sales for Kevin Trent Bussell at their home, is supported by other information contained

in the affidavit. First, the affidavit [Doc. 218, Exh. 3, ¶23] relates that CS-1 says that he or she

“believes” that Kevin Trent Bussell’s parents “store money and drugs at their residence for

BUSSELL.” In this regard, CS-1 states [Doc. 218, Exh. 3, ¶22] that s/he once “purchased a quantity

of oxycodone pills from BUSSELL and was directed to pick up the pills from BUSSELL’s residence

and to leave the cash for the pills under the flower pot of” his parents residence. Thus, CS-1, who

as discussed above, in relation to Kevin Trent Bussell’s arguments, is both reliable and very

knowledgeable about Kevin Trent Bussell’s drug trafficking operation, bases his or her belief that


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the Bussell parents are involved, at least in part, upon Kevin Trent Bussell directing him to leave

a payment for drugs at their house.

               Additionally, a series of intercepted telephone conversations from November 5-7,

2010, show that Leonard and Geneva Bussell stored drugs and drug proceeds at their house for

Kevin Trent Bussell. In a call at 5:19 p.m., on November 5, 2010 [Doc. 218, Exh. 3, ¶57], Kevin

Trent Bussell directs Trent Mason to take $23,002 from his house “‘down to mom’” and that Bussell

would call his mother and see if she could get “‘something’” for Mason. Photographs attached to

the Master Affidavit [Doc. 218, Exh. 3, Attachment A] show that Geneva Bussell lived less than 100

feet from Kevin Trent Bussell.6 Information from CS-1 [Doc. 218, Exh. 3, ¶22] reveals that Kevin

Trent Bussell had members of the drug trafficking conspiracy help him count drug proceeds at Kevin

Trent Bussell’s home. Based upon this information, the reviewing judge could infer that in the

intercepted telephone conversation, Kevin Trent Bussell was directing a coconspirator to take drug

proceeds to Geneva Bussell at her home.

               In addition to Agent Nelson’s training, experience and familiarity with the case,

which caused him to believe that the “something” referenced in the above intercepted call was

oxycodone, a series of three other intercepted telephone conversations show that Geneva and

Leonard Bussell also kept controlled substances for Kevin Trent Bussell or, at least, would distribute

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         At the May 13 hearing, defense counsel for Leonard Bussell argued that this photograph
“hurts more than it helps,” because the Defendant’s grandmother’s residence is located between
Kevin Trent Bussell’s residence and Geneva and Leonard Bussell’s residence. Accordingly,
counsel asserted that “mom’s” could have been either the Bussell parents’ residence or the
grandmother’s residence or “anywhere.” The Court finds that the reviewing judge could have
readily inferred from the context of the intercepted telephone calls on November 5, 2010, that
“mom” which was linked with “dad” was a reference to Kevin Trent Bussell’s mother, Geneva
Bussell, and her residence, rather than to his grandmother, Wilsie Evans, whom the affidavit
[Doc. 218, Exh. 3, ¶61] states lived with Kevin Trent Bussell’s uncle.

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their own controlled substances at his direction. In a call from Kevin Trent Bussell at 7:53 p.m. on

November 5, 2010 [Doc. 218, Exh. 3, ¶58], Bussell directed Jeff Adcock “to stop at ‘mom and dad’s,

she’s gonna give you 30 or 40 of them.’” In this call, Kevin Trent Bussell is clearly directing

Adcock to go to his parent’s residence. Agent Nelson states that based on his familiarity with the

investigation, the reference to “30 or 40 of them” is to oxycodone pills.

               The affidavit [Doc. 218, Exh. 3, ¶59] relates that nine minutes later, Kevin Trent

Bussell receives a telephone call from Trent Mason, who is calling from Bussell’s home telephone,

asking if he could go to Bussell’s parents’ house and get a “‘couple of them until tomorrow.’”

Again, Mason is clearly referencing 445 Moody Hill Road. The affidavit relates that Bussell tells

Mason that “his dad is asleep and his mom did not want to wake him up, but when he woke up in

a little bit, BUSSELL would ask him (LYNN) if he could give Mason a couple.” Agent Nelson

again states that based upon his training, experience, and knowledge of the investigation, he believes

that “a couple of them” is referring to oxycodone pills. Geneva Bussell contends that Mason would

not be asking for oxycodone at 8:02 p.m., if he had actually received “something”–assuming the

“something” is oxycodone–from Geneva Bussell when he brought her the cash as directed by Kevin

Trent Bussell at 5:19 p.m. Geneva Bussell argues that this indicates that Mason never took the cash

to her house. The Court finds that the issuing judge could reasonably infer from Mason’s statement

that he wanted a “couple of them until tomorrow” that Mason was getting a supply of pills to last

him through the night. In any event, Mason’s request for additional oxycodone at 8 p.m. precludes

neither his delivery of drug proceeds or receipt of oxycodone over two hours earlier.

               Finally, the affidavit [Doc. 218, Exh. 3, ¶60] states that around noon on November

7, 2010, a call was intercepted from Kevin Trent Bussell’s home telephone to Leonard and Geneva


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Bussell’s home telephone. In this call, Trent Mason is returning Leonard Bussell’s call from earlier

that day. Leonard Bussell tells Mason that he had “‘found some of them 30 milligram[.]’” Mason

says that he will be over to see Leonard Bussell. The issuing judge could reasonably infer from the

term “milligram” that Leonard Bussell was talking about drugs. The issuing judge could also

reasonably infer from the context of the intercepted conversation that when Mason said he “would

be over to see Lynn,” he was planning to come to Leonard Bussell’s house from which Leonard

Bussell was talking to him at that time. Accordingly, the Court finds that these intercepted

telephone conversations, overheard by law enforcement and recounted in the Master Affidavit, when

considered together, give rise to the reasonable inference that Geneva and Leonard Bussell were

storing drugs and drug proceeds at their home for Kevin Trent Bussell.

               Geneva Bussell questions the reliability of the participants in these intercepted

conversations, Kevin Trent Bussell, Trent Mason, and Jeff Adcock, who are all coconspirators in

the alleged crimes. The Court observes that these telephone conversations were surreptitiously

recorded, and the affidavit provides no indication that the participants, who were implicating

themselves in a drug conspiracy by their statements, were motivated to lie. See Gunter, 551 F.3d

at 481. Moreover, the affidavit provides no evidence that Kevin Trent Bussell had a motive to

implicate falsely his parents in his drug trafficking. Accordingly, the Court finds that the issuing

judge could reasonably infer that the intercepted conversations were reliable.

               Although the affidavit does contain some conclusory statements from Agent Nelson,

it also contains information from CS-1 and corroboration through intercepted telephone

conversations from which the issuing judge could find a substantial basis to conclude that drugs and

evidence of drug trafficking would be at Geneva Bussell’s residence.


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                                             (iii) Nexus

               Finally, Defendant Geneva Bussell argues that the Master Affidavit, particularly

paragraphs 55 through 60 purporting to provide probable cause to support the search of 445 Moody

Hill Road, fails to establish a nexus between her home and evidence of drug trafficking. As

discussed above with regard to Defendant Kevin Trent Bussell’s nexus argument, an affidavit

offered in support of a search warrant “must indicate a nexus between the place to be searched and

the evidence sought and this nexus may be established by the nature of the items and normal

inferences of where a person would keep such items.” Hawkins, 278 F. App’x at 634; Carpenter,

360 F.3d at 594. Unlike with regard to Kevin Trent Bussell’s residence, the Master Affidavit does

not relate that anyone has ever observed drugs in Geneva Bussell’s residence. The Government

responds that the Master Affidavit gives rise to a reasonable inference that evidence relating to drug

trafficking would be found at Geneva Bussell’s residence based upon Geneva Bussell’s involvement

in the oxycodone trafficking conspiracy, intercepted conversations regarding the storage of cash and

drugs at Geneva Bussell’s home, and information from a reliable confidential informant that Kevin

Trent Bussell’s parents store drugs and cash for Bussell at their home.

               The Defendant contends that paragraphs 55-60 fail to establish that evidence of drug

trafficking would be found at 445 Moody Hill Road. First, she states that none of the three

conversations on November 5, 2010, involve someone from 445 Moody Hill Road. Instead, they

all involve third parties being directed to “mom” or “mom and dad’s.” She states that nothing

substantiates that the coconspirators are being directed to see her at her home or that they actually

followed through with the directions from Kevin Trent Bussell and met with her at her house. With

regard to paragraph 60, although it involves Leonard Bussell speaking from their home telephone,


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Geneva Bussell argues the affidavit does not establish that Leonard Bussell could not lawfully

possess “some of them 30 milligram” ones in question, that Mason was coming to see him about the

pills at his house, or that Leonard Bussell ever actually delivered 30 milligram pills to Mason.

               The Defendant likens this case to that in United States v. McPhearson, in which the

Sixth Circuit held that information in an affidavit that the defendant was arrested on his front porch

pursuant to an arrest warrant for assault and was found to have 6.4 grams of crack cocaine in his

pocket is insufficient to provide probable cause for a search warrant to search his house. 469 F.3d

518, 524-25 (6th Cir. 2006). Geneva Bussell argues that nothing in the Master Affidavit shows any

more connection between drug activity and her house than the information contained in the affidavit

in McPhearson. The Government argues that McPhearson is distinguishable because the appellate

court recognized that the affidavit in McPhearson was missing an “additional fact that permitted the

magistrate to draw the inference that evidence of wrongdoing would be found in the defendants’

homes—namely, the independently corroborated fact that the defendants were known drug dealers

at the time the police sought to search their homes.” Id. at 524. Instead, the Government relies on

a line of Sixth Circuit case law that holds that a judge reviewing a search warrant affidavit may

reasonably infer a nexus between drug trafficking and a drug trafficker’s home because it is

commonly known that “drug traffickers use their homes to store drugs and otherwise further their

drug trafficking.” United States v. Williams, 544 F.3d 683, 687 (6th Cir. 2008).

               “A magistrate may infer a nexus between a suspect and his residence, depending upon

‘the type of crime being investigated, the nature of things to be seized, the extent of an opportunity

to conceal the evidence elsewhere and the normal inferences that may be drawn as to likely hiding

places.’” Id. (quoting United States v. Savoca, 761 F.2d 292, 298 (6th Cir.1985)). As discussed


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above with regard to the probable cause to search Defendant Kevin Trent Bussell’s residence, the

Sixth Circuit as recognized such an inference with regard to drug traffickers in particular, holding

that an issuing judge may reasonably deduce that a drug dealer will keep contraband and evidence

of drug trafficking in his or her home. Id.; Miggins, 302 F.3d at 393-94.7 Thus, an affidavit stating

that a defendant participated in multiple purchases of one to four kilograms of cocaine was sufficient

to support the inference that the defendant would have evidence of drug trafficking at his home:

“Because the quantity of drugs and the repeated nature of the transactions make it reasonable to

conclude that [the defendant] was engaged in ongoing drug trafficking, it was reasonable to infer

that evidence of illegal activity would be found at [the defendant’s] residence.” Gunter, 551 F.3d

at 481. Additionally, an experienced investigator’s statement in a supporting affidavit that drug

dealers use their homes to conduct their drug trafficking activities can help establish a nexus

between a suspect’s drug crimes and his home. United States v. Caicedo, 85 F.3d 1184, 1193 (6th

Cir. 1996) (determining that such a statement in an affidavit by an experienced narcotics investigator



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         In Williams, the defendant sought to limit this inference to cases involving drug
traffickers. 544 F.3d at 687-88. The appellate court held that issuing judges may infer that a
suspect keeps the “‘instrumentalities and fruits’” of a variety of crimes in his home:

        In the present case, the warrant affidavit set forth sufficient facts to permit the
        issuing judge to infer a link between the handguns sought and Williams’s
        residence. The warrant application named two informants, Cosme and Jackson,
        both of whom informed Officer Stewart that Williams possessed two handguns
        recently used to commit the robbery of marijuana from a drug trafficker. Several
        sources substantiated this information, including Detroit Police Department
        records that indicated police recently arrested Williams for carrying a concealed
        firearm. Given the evidence that Williams possessed multiple guns, and had
        recently used them to further his criminal activity, the issuing judge could have
        reasonably inferred that Williams kept at least one handgun at his residence.

Id. at 588.

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established a nexus between the defendant’s drug trafficking and his residence, particularly when

the investigator knew the defendant was arrested along with a person possessing 565 grams of

cocaine and had lied about his address); United States v. Goward, 188 F. App’x 355, 359 (6th Cir.

2006) (affirming nexus when affidavit showed defendant was involved in marijuana trafficking

conspiracy, marijuana sales were observed by an undercover officer, the defendant lived at the

residence to be searched, and the affiant stated that based upon years of experience and training, he

knew drug dealers to keep drugs, paraphernalia, and firearms at their residences) (unpublished).

               The Sixth Circuit has cautioned against applying this inference to those not involved

in trafficking drugs:

               [T]here is a difference between a drug dealer and a drug user. In
               most cases, it would be inappropriate for officers who had verifiable
               evidence of possession of small amounts of drugs for personal use,
               without further indication of any wrongdoing occurring at that
               person’s residence, to infer a reasonable nexus between that criminal
               activity and the existence of related criminal activity at the residence.


Id. at 360. Moreover, an officer’s training and experience alone is not sufficient to establish a nexus

to any location connected to the defendant. United States v. Schultz, 14 F.3d 1093, 1097 (6th Cir.

1994) (finding that officer’s training and experience alone did not establish a nexus to the

defendant’s safe deposit box).

               In the present case, the Court finds that the issuing judge could properly infer that

controlled substances and proceeds of drug sales would be found at Geneva Bussell’s residence.

First, Agent Nelson states [Doc. 218, Exh. 3, ¶¶ 3 and 8.a.] that based upon his training and six years

of experience with money laundering and narcotics investigations as an IRS criminal investigator,

he knows that “[d]rug dealers usually keep controlled substances and paraphernalia for packaging,

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cutting, weighing, transporting, and distributing controlled substances at places under their control,

such as their residences, or in the control of their trusted associates.” Evidence of an ongoing and

far reaching oxycodone conspiracy is found throughout the affidavit. Additionally, the affidavit

contains specific information linking Kevin Trent Bussell’s drug trafficking to his parents Geneva

and Leonard Bussell and their residence: The statement of CS-1 that s/he had taken a drug payment

to 445 Moody Hill Road at Kevin Trent Bussell’s direction and that s/he believed that Bussell stored

drugs and proceeds at his parent’s residence; intercepted telephone calls in which Kevin Trent

Bussell directs coconspirators to take cash to or pick up drugs from Geneva Bussell at her residence;

and the intercepted call between a coconspirator and Leonard Bussell, speaking from his home

telephone, in which Leonard Bussell states that he has 30 milligram pills and the coconspirator states

he will come over to see Leonard Bussell later. Based upon this evidence, the issuing judge could

reasonably infer that Geneva and Leonard Bussell were engaged in drug trafficking with their son

Kevin Trent Bussell and that the evidence of that drug trafficking would be found at their residence,

445 Moody Hill Road.

               Based upon the forgoing, the Court finds that the issuing judge had a substantial basis

to find probable cause for the search of Geneva Bussell’s residence based upon the totality of the

circumstances related in the Master Affidavit. Accordingly, the Court recommends that Geneva

Bussell’s adopted Motion to Suppress [Doc. 172] be denied.




(3) Kevin Trent Bussell’s Florida Residences

               Defendant Kevin Trent Bussell argues [Docs. 206 and 207] that the affidavit by IRS

Special Agent Danielle Barto fails to provide probable cause to support the issuance of search

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warrants for his two Florida residences, 6065 and 6081 38th Avenue, North, St. Petersburg, Florida.

Specifically, he argues that the supporting affidavit fails to show a nexus between his residences and

the alleged criminal activity. He also contends that the affidavit fails to show that the confidential

informants, who provided information therein, are reliable. He argues that when the information

from the confidential informants and the conclusory statements of the affiant are set aside, the

affidavit does not provide probable cause to support the issuance of the search warrants.

               The Government responds [Doc. 220] that Agent Barto’s affidavit provides ample

basis for the issuance of the search warrants for the Defendant’s Florida residences. It contends that

Agent Barto provides detailed information, both from confidential informants and from intercepted

telephone conversations, regarding drug activity occurring at the Florida residences.            This

information is corroborated by law enforcement’s independent investigation, specifically a traffic

stop and search of the Defendant’s vehicle on November 9, 2010, and subsequent surveillance of

the Florida residences. Also, the Government contends that Agent Barto’s statement in the affidavit

that based upon her training and experience, drug traffickers routinely maintain evidence of their

drug crimes at their residences, also provides probable cause to issue the search warrants.




                                              (i) Nexus

               As he did with regard to the search warrant for his Tennessee residence, Defendant

Kevin Trent Bussell argues that the Barto Affidavit fails to demonstrate a nexus between his Florida

residences and the alleged drug trafficking. The Court finds that the issuing judge could reasonably

infer a nexus between 6065 and 6081 38th Avenue, North, and oxycodone trafficking because the

affidavit states that (1) controlled substances and large amounts of money were observed at these

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two houses, (2) Bussell described trips to Florida to obtain drugs in intercepted telephone

conversations, (3) public records link 6065 38th Avenue, North, to members of the alleged drug

conspiracy, and (4) Agent Barto states that based upon her training and experience drug traffickers

keep evidence of their drug trafficking enterprise in their homes.

               First, the Court finds that information from a confidential informant participating in

the drug conspiracy reveals a nexus between Kevin Trent Bussell’s Florida residences and drug

trafficking. CS-1 explained [Doc. 220, Exh. 1, ¶24] that Kevin Trent Bussell would travel to Florida

with around thirty people, who would visit doctors and pain clinics to obtain prescription narcotics.

CS-1 said [Doc. 220, Exh. 1, ¶¶21 and 24] that Bussell pays for the gas, meals, appointment fees,

and prescriptions for everyone, and houses the coconspirators in his two Florida rental properties

located next to each other. CS-1 stated [Doc. 220, Exh. 1, ¶25] that s/he has seen “large quantities

of oxycodone pills at both of BUSSELL’s Florida residences[.]” CS-1 has also observed [Doc. 220,

Exh. 1, ¶25] cash proceeds from drug sales at 6065 38th Avenue, North. Additionally, video and

audio recordings taken by CS-1 at 6065 38th Avenue, North, on September 11 and 13, 2010, [Doc.

220, Exh. 1, ¶26] show both large amounts of cash and a large quantity of pills at the residence.

               Second, intercepted telephone calls, recounted in the affidavit, support the link

between the two Florida residences and Kevin Trent Bussell’s drug trafficking. In a call on

November 8, 2010, Kevin Trent Bussell stated that he took 35 to 40 pill shoppers with him on his

trips to Florida but that he was scaling back on future trips because that large number was hard to

manage. In two different calls on November 10, 2010, Kevin Trent Bussell said [Doc. 220, Exh. 1,

¶35. b-c] that he was pulled over by police while en route to Florida and that the police seized

$35,000 to $40,000 from him but did not find another $60,000 or more dollars hidden in his truck.


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These telephone conversations reveal that Bussell was engaged obtaining controlled substances

during his trips to Florida and that he took a large number of people with him for the purpose of

obtaining drugs.

               Third, the affidavit shows that law enforcement’s investigation independently

corroborates the nexus between the Florida residences and the drug conspiracy. The affidavit states

[Doc. 220, Exh. 1, ¶28] that a “search of the Florida Department of Motor Vehicles database

revealed that twenty-three (23) people currently list 6065 38th Avenue North, St. Petersburg, Florida

33710 as their home address on their Florida I.D. cards.” The affiant and other law enforcement

officers recognized many names on that list of people as being coconspirators of Bussell.

Additionally, the rental the agreement for 6065 38th Avenue, North, provided by CS-2 and the lease

for 6081 38th Avenue, North, found in the search of Bussell’s truck show four of the

coconspirators’s names as the lessors [Doc. 220, Exh. 1, ¶¶18 and 23]. On November 8, 2010,

officers observing Bussell’s Tennessee residence saw a number of people get into Bussell’s truck

and Nissan Armada, travel through Knoxville, and proceed south on I-75 [Doc. 220, Exh. 1, ¶30].

Just after midnight on November 9, 2010, officers conducted a traffic stop of Bussell’s truck [Doc.

220, Exh. 1, ¶31]. During a search of the truck, pursuant to Bussell’s consent, officers found over

$35,000 hidden throughout the truck, lists of pharmacies in southern Florida, business cards for pain

clinics and doctors’ offices in southern Florida, and a lease for 6081 38th Avenue, North [Doc. 220,

Exh. 1, ¶¶22 and 31]. Officers conducted surveillance in St. Petersburg, Florida, over the next few

days and saw Bussell’s truck and Nissan Armada parked at 6065 and 6081 38th Avenue, North

[Doc. 220, Exh. 1, ¶34].

               Finally, the Court finds, as it did with regard to the above analysis of probable cause


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for the search of Bussell’s Tennessee residence and Geneva Bussell’s residence, that the affiant’s

statement that her training and experience show that drug traffickers keep controlled substances,

proceeds, and evidence of drug trafficking in their homes permitted the issuing judge to properly

infer that evidence of drug trafficking would be found at Bussell’s Florida residences as well. See

Williams, 544 F.3d at 687 (affirming the inference that a drug dealer stores drugs in his own home,

even when no drug transactions occurred there); Miggins, 302 F.3d at 393.

               The Defendant argues that the information from the confidential informants cannot

be relied upon in the probable cause determination because the affidavit fails to show that they are

reliable. As discussed with regard to the Master Affidavit supporting the search of Defendant’s

Tennessee residence, the Barto Affidavit also does not state that law enforcement had used CS-1 as

a confidential informant in the past or that the information s/he provided has led to other search

warrants, charges, or convictions. Instead, the Court finds that the affidavit contains substantial

independent corroboration of the information provided by CS-1 from the intercepted telephone calls,

the information gleaned in the November 9, 2010 traffic stop of Bussell, and the audio and video

recordings from September 11-13, 2010. See Jones, 159 F.3d at 974 (holding that information from

a confidential informant can be independently corroborated by police); see also Fraizier, 423 F.3d

at 532 (observing that independent police corroboration must be “substantial”). Additionally, the

information by CS-1 is detailed and of the type that would only be known by an insider in the

conspiracy. See Gunter, 551 F.3d at 480 (considering as a factor supporting the informant’s

reliability that he provided detailed information of ongoing drug sales); United States v. McCraven,

401 F.3d 693, 697 (6th Cir.) (determining that “a detailed description of what the informant

observed first-hand” is another “indicia of the informant’s reliability”), cert. denied, 546 U.S. 1010


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(2005). Accordingly, as above, the Court finds that the affidavit contains information from which

the issuing judge could determine that CS-1 was reliable.

                Considering the totality of the circumstances related in Agent Barto’s affidavit, the

Court finds that the affidavit contains probable cause to believe that evidence of drug trafficking

would be found at Defendant Kevin Trent Bussell’s two Florida residences.




(4) Nicole Seal’s Tennessee Residence

                Defendant Nicole Seal asks [Doc. 195] the Court to suppress all evidence seized

during the November 26, 2010 search of her home, 1248 Dogwood Road, Tazewell, Tennessee,

because there was not probable cause to issue the search warrant. She argues that the supporting

affidavit by Task Force Agent Bayless fails to establish the reliability of two of the three confidential

informants, provides stale information from the remaining informant, and recounts an intercepted

telephone call, which although more recent does not link any illegal activity to her or her home. The

Government responds [Doc. 225] that the affidavit reveals a “proven track record” for at least two

of the three confidential informants, making independent police corroboration unnecessary. It also

argues that the information in the affidavit from November 23, 2010, refreshed any part of the

affidavit that could be considered stale. The Government maintains that the totality of the

circumstances provide probable cause to believe that evidence of drug trafficking or money

laundering would be found at Seal’s residence.

             (i) Information in Bayless Affidavit Relating to Nicole Seal or her Home

                The Court finds the following parts of the Bayless Affidavit are relevant to the search


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of Nicole Seal’s home:

              (1) In paragraph 2.l., Agent Bayless states that based upon his
              training and experience, drug traffickers commonly maintain firearms
              to protect their property, drugs, and cash stores from theft;


              (2) Paragraph 8 relates that CS-1 said s/he went with Kevin Trent
              Bussell when he hid guns at his sister Nicole Seal’s home. CS-1 also
              stated that Bussell said that he takes guns, specifically an Uzi, to
              another sister Jessica Wilson. In early November, Bussell told CS-1
              that he had $250,000 in cash hidden somewhere.


              (3) In paragraph 9, CS-2 states that Kevin Trent Bussell “bragged” to
              him/her that Bussell had hidden $250,000 and guns at a sister’s home.
              Bussell said he planned to use the money to build a house in Florida;


              (4) Paragraph 10 relates that law enforcement executed a search
              warrant in Florida on November 23, 2010. (Paragraph 7 reveals that
              this search warrant was executed at one of Kevin Trent Bussell’s
              Florida houses.) At that time, CS-3 told Agent Bayless that Kevin
              Trent Bussell had between $200,000 and $500,000 in cash hidden at
              a family member’s home and that “‘if it was not at the parents[’]
              home it would have to be at one of the sister’s home[s].”


              (5) Paragraph 12 states that while in jail following the search of his
              Florida homes, Kevin Trent Bussell spoke with Nicole Seal on a
              monitored telephone call. Bussell told Seal, “‘You know what you
              have to do don’t you, that’s all, that’s it, there is nothing else[.]” Seal
              responded that “it is gone[,]” to which Bussell “asks if they got it,
              referring to the DEA[.]” Seal says no, “that they were afraid[,]” and
              “that it is gone.” Bussell “asks if they can use it and [Seal] replies
              ‘it’s on its way somewhere, can’t get to it.’” Seal later states that she
              and Jessica Wilson are flying to Florida to try to get Bussell’s child
              and to make bond for Bussell and his fiancé with $30,000 in cash;
              and


              (6) In paragraph 14, the affidavit states that officers seized under
              $10,000 in currency in the November 23, 2010 search of Kevin Trent
              Bussell’s parents’ home.



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Defendant Seal contends that this information is insufficient to provide probable cause to search her

home because the affidavit fails to show that CS-2 and CS-3 are reliable, the information from CS-1

is stale, and the information from the intercepted telephone call does not link her or her home to

anything illegal.

                              (ii) Reliability and Basis of Knowledge

               Although she concedes that the affidavit shows that CS-1 is reliable, Defendant Seal

argues that the affidavit contains nothing about the reliability of the remaining informants, nor does

it establish their basis of knowledge. She asserts that the affidavit merely states that CS-2 overheard

Kevin Trent Bussell boasting about hiding money and guns in his sister’s house and does not reveal

how CS-3 knew about cash Bussell had hidden in a family member’s home. The Government argues

that the affidavit reveals that CS-3 has a “proven track record” of providing reliable information

because it states that the search of Kevin Trent Bussell’s home on November 23, 2010 corroborated

his information.    It maintains that because of this “track record,” no independent police

corroboration is necessary. The Government also argues that the information provided by the

confidential sources corroborates each other.

               Defendant Seal does not challenge the reliability of CS-1, and the Court finds that

the affidavit provides information showing CS-1 to be reliable,8 namely the corroboration of his

information with video and audio tapes he made inside Bussell’s Tennessee and Florida residences,

controlled drug purchases from coconspirators, and monitored telephone calls. Also, paragraph 11


       8
         The Court observes that the information corroborating CS-1 in the Bayless Affidavit is
extremely concise, especially when contrasted with the affidavits by Agents Nelson and Barto
analyzed above. Nevertheless, the Court finds the corroboration to be minimally sufficient for
the issuing judge to make a determination of CS-1's reliability.

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states that large amounts of prescription drugs were taken during the November 23, 2010 execution

of federal search warrants in Tennessee and Florida. Although paragraph 11 fails to state to whom

the properties that were searched belonged, paragraph 7 states that on November 23, 2010, law

enforcement searched Kevin Trent Bussell’s homes in Florida and Claiborne County, Tennessee.

Paragraph 12 states that Kevin Trent Bussell was arrested in Florida after the execution of the search

warrants mentioned in paragraph 11. Accordingly, the issuing judge could infer that the search

warrants for Bussell’s property yielded large amounts of prescription drugs, thereby corroborating

CS-1's information by establishing Bussell to be a drug trafficker.

               The Court agrees with the Defendant that Agent Bayless’s affidavit is devoid of

information showing that CS-2 or CS-3 are reliable. With regard to CS-2, the affidavit states [Doc.

196, Exh. 1, ¶7] only the following:

               CS-2 was arrested by 8th JDTF Agents and is currently on probation
               in the state of Tennessee for drug charges. Much of the information
               he has provided has been corroborated independently by law
               enforcement and public record information, along with other
               information provided by confidential sources.


The affidavit does not describe how the information by CS-2 was independently corroborated by

either the police or public records, so the issuing judge had no way to determine whether CS-2 is

reliable based upon corroboration. Instead, the issuing judge had only the conclusory statements of

the affiant, which do not suffice. See Gunter, 551 F.3d at 480 (holding that the affidavit must permit

the issuing judge “‘to independently determine probable cause; his action cannot be a mere

ratification of the conclusions of others’”) (citing Gates, 462 U.S. at 239).

               The Court finds the same to be true for CS-3, for which the affidavit states [Doc. 196,



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Exh. 1, ¶7] only:

               CS-3 agreed to cooperate and provide information on November 23,
               2010 during a search warrant conducted in Florida at one of
               BUSSELL’s homes. Information provided by CS-3 on that day was
               corroborated by law enforcement officials in Claiborne County Tn.
               during a search warrant being conducted at another one of
               BUSSELL’s homes.


The affidavit does not state what information Claiborne County officers seized or discovered during

the execution of a search warrant at one of Kevin Trent Bussell’s residences. Thus, the information

purporting to establish the track record of CS-3 also fails to permit the issuing judge to assess the

reliability of CS-3.

               The Government argues that the three confidential informants also corroborate each

other. At the May 13 hearing, AUSA Hui stated that information from CS-2 that Kevin Trent

Bussell had boasted to CS-2 that he had $250,000 and guns hidden at a sister’s house is corroborated

by CS-1's statement that he accompanied Bussell who hid guns at Nicole Seal’s house and by CS-3's

statement that Bussell had between $200,000 and $500,000 hidden at his parents or one of his

sisters’ homes. The statement of CS-1 that s/he witnessed Kevin Trent Bussell hide guns at

Defendant Seal’s house does provide some limited corroboration of CS-2's statement that Bussell

told him that he hid guns at a sister’s house. Likewise, the information from CS-3 supports the

amount and location for the hidden money given by CS-2. Nevertheless, the information from CS-2

shows that s/he unlike CS-1 who saw the guns being hidden at Seal’s house, does not have firsthand

knowledge of the matter. The affidavit gives no indication of how CS-3 knows about the hidden

money. Accordingly, the Court finds that the information from CS-2 and CS-3 should not be

considered when determining whether probable cause existed to support the issuance of a search


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warrant for Defendant Seal’s home.

                                           (iii) Staleness

               Even discounting the information from CS-2 and CS-3, the Court finds the affidavit

contains a substantial basis for the issuing judge to conclude that evidence of drug trafficking would

be found at Defendant Seal’s house, because CS-1 states that he witnessed Kevin Trent Bussell hide

guns at Nicole Seal’s house. The Defendant argues that this information from CS-1 is stale because

CS-1 does not say when this occurred, leaving no way for the issuing judge to determine if the

evidence would still be present at Seal’s residence. The Government argues that the information

gained during the November 23, 2010 search and the post-arrest telephone call between Bussell and

Seal serve to refresh the information from CS-1.

               As discussed above, an assessment of the staleness of information in an affidavit is

linked to the nature of the crime, the criminal, the location of the search, and the items sought.

Spikes, 158 F.3d at 923-24.

               [C]ourts must also concern themselves with the following variables:
               “the character of the crime (chance encounter in the night or
               regenerating conspiracy?), the criminal (nomadic or entrenched?), the
               thing to be seized (perishable and easily transferable or of enduring
               utility to its holder?), the place to be searched (mere criminal forum
               of convenience or secure operational base?), etc.”


Id. at 923 (quoting Andresen, 331 A.2d at 106). Much of the discussion above with regard to

information in the affidavit supporting the search of Geneva Bussell’s residence also applies here:

This is an ongoing conspiracy; and Defendant Seal was entrenched in her home, which provides a

secure operational base. On the other hand, unlike controlled substances, guns have an enduring

value to those who possess them. See United States v. Lancaster, No. 04-5826, 2005 WL 1799385,

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*5 (6th Cir. July 28, 2005) (determining that information from a confidential informant that he saw

the defendant fire a machine gun two years earlier was not stale because “firearms are not perishable

items”). In this regard, Agent Bayless states in the affidavit [Doc. 196, Exh. 1, ¶2.l.] that drug

traffickers keep firearms for protection and will trade drugs for guns and that guns are considered

“tools of the trade of drug traffickers.” Given the ongoing nature of the drug trafficking conspiracy

and the enduring utility of firearms to drug traffickers, the Court finds that the information in the

affidavit from CS-1 was not stale.

               The Court does not agree with the Government that the information gained in the

November 23, 2010 searches and in the subsequent monitored call between Kevin Trent Bussell and

Defendant Seal does much to refresh the information from CS-1. Although CS-3 provided

information on November 23, 2010, that Bussell had a reserve of cash hidden at his parent’s or a

sister’s home, this does not relate to the guns that CS-1 saw Bussell hide. Moreover, the telephone

conversation between Bussell and Seal, while Bussell is detained in Florida only serves, at most, to

suggest that Seal may be in control of proceeds from the conspiracy. It also does not relate to the

guns allegedly hidden at her house. Nevertheless, the Court finds that the information from CS-1

is not stale because of the nature of the crime (ongoing conspiracy), the criminal (entrenched), the

location of the search (residence), and the items sought (firearms of enduring value).

                                             (iv) Nexus

               Finally, in an attempt to distinguish the intercepted telephone call at the jail,

Defendant Seal argues that even assuming that the conversation related to contraband, nothing

shows that the contraband would be found at her home, particularly when the affidavit states that

she said that the items in her possession are now gone. At the May 13 hearing, defense counsel

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conceded the affidavit establishes a nexus between Defendant Seal’s home and evidence of drug

trafficking based upon the information from CS-1 that he accompanied Kevin Trent Bussell to hide

guns at Seal’s residence. The Court finds that Defendant Seal’s statements in her telephone

conversation with Bussell that “it is gone” and “‘it’s on its way somewhere, can’t get to it” do not

negate this nexus. The issuing judge could have inferred that Seal was talking about money rather

than a gun or, even if she is talking about a gun, that multiple guns were allegedly hidden at her

house.

               Based upon the forgoing, the Court finds that the issuing judge had a substantial basis

to believe that contraband or evidence of drug trafficking would be found at Nicole Seal’s house.

CS-1, whose reliability and significant role in the conspiracy is established by the affidavit, states

that he has gone with Bussell to hide guns in Seal’s house. Additionally, the issuing judge could

infer from the monitored jail telephone call between Bussell and Seal that Seal remained involved

in the conspiracy because her statements that she was afraid and “it is gone” suggest she has gotten

rid of something of interest to law enforcement. Accordingly, even without the information from

CS-2 and CS-3, the Court finds that probable cause exists to support the search warrant for

Defendant Seal’s home. Finally, the conversation between Bussell and Seal reveals that Seal has

access to $30,000 cash. This fact, in combination with the information from CS-1 that Bussell said

he had $250,000 in cash hidden somewhere permits the issuing judge to reasonably infer that Seal

is also storing drug proceeds at her home. Accordingly, the Court recommends that Nicole Seal’s

Motion to Suppress [Doc. 195] be denied.




(5) Jessica Wilson’s Tennessee Residence

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               Defendant Jessica Wilson moves [Doc. 179] the Court to suppress all evidence seized

in the November 26, 2010 search of her home. She contends that the affidavit of Agent Bayless

failed to show either that evidence of illegal activity would be found in her home or that probable

cause existed to support the issuance of a search warrant. Defendant Wilson also argues that the

affiant made a material omission in the supporting affidavit, and she asks for a evidentiary Franks

hearing on this issue. The Government opposes [Doc. 225] Defendant Wilson’s motion, contending

that Agent Bayless’s affidavit provides probable cause to believe that evidence of drug trafficking

and money laundering would be found at Wilson’s home. The Government also asserts that no

Franks hearing is warranted in this case because any omission on the part of the affiant is not

material to the probable cause finding. Finally, the Government contends that even if insufficient

probable cause existed to support the issuance of the search warrant, the officers relied upon the

search warrant in good faith, and the evidence should not be suppressed.

           (i) Information in Bayless Affidavit Relating to Jessica Wilson or her Home

               The Court finds the following parts of the Bayless Affidavit are relevant to the search

of Jessica Wilson’s home:

               (1) Paragraph 2.c states that based upon his training and experience,
               Agent Bayless knows that drug traffickers often purchase assets in
               the names of relatives, “who serve as ‘nominee’ title holders while
               the drug traffickers actually own and continue to use the assets and
               exercise dominion and control over the assets”;


               (2) In paragraph 2.l., Agent Bayless states that based upon his
               training and experience, drug traffickers commonly maintain firearms
               to protect their property, drugs, and cash stores from theft;


               (3) Paragraph 8 relates that CS-1 said s/he went with Kevin Trent
               Bussell when he hid guns at his sister Nicole Seal’s home. CS-1 also

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               stated that Bussell said that he takes guns, specifically a “fully
               automatic Uzi,” to another sister Jessica Wilson. In early November,
               Bussell told CS-1 that he had $250,000 cash hidden somewhere;


               (4) In paragraph 9, CS-2 states that Kevin Trent Bussell bragged to
               him/her that Bussell hid $250,000 and guns at a sister’s home;
               Bussell said he planned to use the money to build a house in Florida;


               (5) Paragraph 10 relates that law enforcement executed a search
               warrant in Florida on November 23, 2010. (Paragraph 7 reveals that
               this search warrant was executed at one of Kevin Trent Bussell’s
               Florida houses.) At that time, CS-3 told Agent Bayless that Kevin
               Trent Bussell had between $200,000 and $500,000 in cash hidden at
               a family member’s home and that “‘if it was not at the parents[’]
               home it would have to be at one of the sister’s home[s]”;


               (6) In paragraph 11, the affiant relates that while executing search
               warrants in Tennessee and Florida on November 23, 2010, law
               enforcement found “the title to a 2010 Yamaha jet ski that was
               labeled on the envelope ‘Trent’s jet ski’ but the title was in Jessie’s
               name.” On this same day, law enforcement seized a houseboat, from
               which the affiant has personally observed Kevin Trent Bussell selling
               prescription medication. Bussell told Agent Bayless that the
               houseboat belonged to Wilson. Workers at the dock told Agent
               Bayless that they saw Bussell pay for the houseboat with cash;


               (7) Paragraph 12 states that while in jail following the search of his
               Florida homes, Kevin Trent Bussell spoke with Nicole Seal on a
               monitored telephone call about the search warrants executed on
               November 23, 2010, and about “the DEA talking to Jessie about
               getting consent to search her house and laundering money for” him.
               Seal later states that she and Wilson are flying to Florida to try to get
               Bussell’s child and to make bond for Bussell and his fiancé with
               $30,000 in cash; and


               (8) In paragraph 14, the affidavit states that officers seized under
               $10,000 in currency in the November 23, 2010 search of Kevin Trent
               Bussell’s parents’ home.


Defendant Wilson contends that this information is insufficient to provide probable cause to search

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her home.

                                  (ii) Probable Cause and Nexus

               Defendant Wilson argues that the Bayless Affidavit fails to provide reason to believe

that criminal activity or evidence would be found at her house at the time of the search. She also

maintains that the affidavit is conclusory, uncorroborated, and is a “bare bones” affidavit. The

Government argues that the totality of the circumstances in the affidavit meet the low threshold of

probable cause.

               “An affidavit that states suspicions, beliefs, or conclusions, without providing some

underlying factual circumstances regarding veracity, reliability, and basis of knowledge, is a “bare

bones” affidavit.” United States v. Weaver, 99 F.3d 1372, 1378 (6th Cir. 1996). In the present case,

over four and one-half pages of the affidavit are dedicated to Agent Bayless’s knowledge of how

drug dealers act based upon his training and experience. Paragraphs 4 through 6 (another one and

one-half pages) contain Agent Bayless’s summary of how Kevin Trent Bussell and his

coconspirators obtain and distribute controlled substances based upon “facts” known to law

enforcement. Nevertheless, the Court does not find the eleven-page affidavit to be bare bones. The

affidavit contains specific facts gained from confidential informants (one of whom is shown to be

reliable), from surveillance by the affiant and law enforcement, from the searches of the homes of

members of the conspiracy, and from a monitored telephone conversation between Kevin Trent

Bussell and Nicole Seal. Accordingly, the Court finds that the supporting affidavit is based on more

than Agent Bayless’s beliefs or conclusions. This, however, does not automatically mean that the

affidavit contains sufficient information to provide probable cause to search Defendant Wilson’s

home.

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               As discussed above, an affidavit supporting a search warrant must establish a link

between the location to be searched and the desired evidence. Carpenter, 360 F.3d at 594. Both the

“nature of the items and [the] normal inferences of where a person would keep such items” can help

provide the nexus. Hawkins, 278 F. App’x at 634. In the instant case, the only reference to

Defendant Wilson’s home is in paragraph 8 of the affidavit, in which CS-1 relates that Kevin Trent

Bussell has told him/her that “he also takes guns to” his sister Jessica Wilson, “specifically a fully

automatic Uzi that BUSSELL told CS-1 he had traded for.” “[H]earsay may be the basis for

issuance of the warrant ‘so long as there * * * (is) a substantial basis for crediting the hearsay.”

United States v. Ventresca, 380 U.S. 102, 103 (1965) (internal quotation omitted); United States v.

Jensen, 432 F.2d 861, 863 (6th Cir. 1970) (observing that “[h]earsay from an unnamed informant

may also be admitted when it can be confirmed by independent investigation”). As discussed with

regard to Defendant Seal’s contentions above, the affidavit contains information showing that CS-1

is reliable. The Court also finds that the affidavit contains a substantial basis to substantiate CS-1's

statement that Bussell told him/her that Bussell took an Uzi and other guns to Defendant Wilson.

               First, the information that Kevin Trent Bussell hid guns at Defendant Wilson’s house

was a direct admission by Bussell to CS-1, rather than information from a secondary source. There

is no indication that Bussell had any reason to lie about this matter to CS-1, and CS-1 actually

observed Bussell engaging in this same activity (hiding guns) at Nicole Seal’s house. Although CS-

1 did not observe Bussell taking guns to Defendant Wilson’s house like s/he did with Defendant

Seal, CS-1's statement that he accompanied Kevin Trent Bussell to hide guns at Seal’s house and

had information that Bussell hid guns at Wilson’s house is an admission against CS-1's penal

interest. Our Supreme Court has held that the fact that the provision of information is against the


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informant’s penal interest provides a basis for accepting the informant’s statement as truthful:

“People do not lightly admit a crime and place critical evidence in the hands of the police in the form

of their admissions.” United States v. Harris, 403 U.S. 573, 583 (1971); United States v. Chafin, 622

F.2d 927, 930 (6th Cir.), cert. denied, 449 U.S. 984 (1980). Certainly, CS-1's statement that Bussell

told him/her that Bussell hid guns at Wilson’s house is not as harmful to CS-1's own interest as is

statement that he went with Bussell when Bussell hid guns at Seal’s house, but the information

further establishes CS-1's relationship to Bussell and involvement in the drug trafficking conspiracy.

               Second, other information in the affidavit relating to Wilson links the drug trafficking

and money laundering activity to her, even if it does not link the criminal activity to her home. The

affidavit [Doc. 181, ¶11] relates that Wilson’s name was on a title to a jet ski purportedly belonging

to Kevin Trent Bussell and found in someone else’s home [Doc. 181, ¶11].9 This information links

Defendant Wilson to the drug trafficking conspiracy, particularly when considered in light of Agent

Bayless’s statement that drug traffickers often purchase assets using a relative as a “‘nominee’ title

holder[.]” Third, the affidavit relates [Doc. 181, ¶ 11] that “[w]hen questioned10 about the house

boat [in Union County, Kevin Trent] BUSSELL stated that it belonged to his sister Jessie,” but

workers at the dock where the houseboat is located told Agent Bayless that they had seen Bussell

pay cash for the houseboat. Taking these statements as both true, the circumstances of the


       9
         The affidavit states that the jet ski title was found during the November 23, 2010
searches in Tennessee and Florida but does not say at whose home it was found. Paragraph 7
states that on November 23, 2010, law enforcement searched Kevin Trent Bussell’s homes in
Florida and Claiborne County, Tennessee. Accordingly, the issuing judge could reasonably infer
that the jet ski title bearing Jessica Wilson’s name was found in one of Kevin Trent Bussell’s
homes.
       10
        The affidavit does not say who questioned Bussell about the houseboat, when the
conversation occurred, or what the circumstances were.

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houseboat’s ownership, that the houseboat belonged to Wilson and that Bussell paid cash for it, also

links Wilson to the drug trafficking conspiracy.

               Finally, the only other information about Wilson related in the affidavit [Doc. 181,

¶12] is in the monitored telephone conversation between Bussell and Seal, in which they discuss the

DEA talking to Wilson about consent to search her house and about laundering money for Bussell.

The affidavit does not relate the substance , if any, of the conversation between Wilson and the

DEA. Seal also states that she and Wilson plan to fly to Florida to get Bussell’s child and to provide

bond money for Bussell and his fiancé with $30,000 cash. This information shows that Defendant

Wilson is willing to help Bussell and other members of the conspiracy and that she has access to

$30,000 cash. Considering the totality of the circumstances, the affidavit depicts Defendant Wilson

as a passive participant in the conspiracy, who is willing to help her brother Kevin Trent Bussell

without necessarily being overtly or actively involved in drug trafficking. This picture of Wilson

substantiates CS-1's information that Bussell told him/her that Bussell also took guns to his sister

Jessica Wilson. Moreover, the “normal inference” would be that Wilson kept the guns at her house,

particularly in light of the information that CS-1 had seen Bussell take guns to Nicole Seal’s house.

See Hawkins, 278 F. App’x at 634 (holding that the nexus between a location and the evidence

sought can be provided by the “nature of the items and [the] normal inferences of where a person

would keep such items”). The totality of the information in the affidavit provides a nexus between

Defendant Wilson’s home and evidence of drug trafficking or money laundering.

               Based upon CS-1's information that Kevin Trent Bussell told him/her that he took

guns, including an Uzi, to Defendant Wilson and other information in the affidavit linking Wilson

to the drug trafficking and money laundering activity, the Court concludes that Agent Bayless’s


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affidavit provides probable cause to issue a search warrant for Defendant Wilson’s home. The Court

recommends that Defendant Wilson’s Motion to Suppress [Doc. 179] be denied.

                                      (iii) Material Omission

               This Court has already found that Agent Bayless’s affidavit fails to show that CS-2

is reliable and that the information from CS-2 should not be considered in the probable cause

determination. Nevertheless, in the event that the District Court disagrees with this determination,

the Court will briefly consider Defendant Wilson’s argument that additional information material

to CS-2's lack of reliability was omitted from the Bayless Affidavit.

               Defendant Wilson contends that Agent Bayless’s affidavit contains a material

omission because it does not reveal that CS-2 returned to criminal activity after providing

information to law enforcement about the drug trafficking conspiracy. She argues that in support

of an application for a wiretap, DEA Special Agent Bethel Poston submitted an affidavit (Poston

Affidavit) stating that Jeff Adcock was the confidential source identified in the search warrant

affidavits as CS-2. The Poston Affidavit states that Adcock was arrested for “doctor shopping” in

Florida, after he had served as a confidential informant and that Adcock would no longer be used

in the investigation going forward because he had returned to criminal activity.11 Accordingly,

Defendant Wilson asserts that Agent Bayless’s failure to disclose in the instant affidavit that CS-2

had returned to criminal activity after becoming a confidential source constitutes a material

omission. Thus, she argues that the information from CS-2 must be struck from the affidavit.



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          Defendant Wilson notes that the Poston Affidavit states that Adcock provided
information after his October 30, 2010 arrest that was later corroborated and believed to be
reliable.

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               The Government responds that the alleged omission is not material to the assessment

of CS-2's credibility. It argues that the affidavit already states that CS-2 had been arrested, was on

probation, and was cooperating in order to reduce his own liability in pending drug charges. Thus,

the Government states that the issuing judge unquestionably knew that CS-2's veracity could be

questioned. Moreover, the Government states that the Poston Affidavit states that Agent Poston had

determined that the information from Adcock/CS-2, provided prior to his recent arrest, was reliable

despite his recidivism. Accordingly, the Government contends that Defendant Wilson is not entitled

to a Franks hearing.

               Generally, in determining the sufficiency of the search warrant affidavit, the Court

is “concerned only with the statements of fact contained in the affidavit.” United States v. Hatcher,

473 F.2d 321, 323 (6th Cir. 1973); see also Whiteley v. Warden, 401 U.S. 560, 565 (1971). In

reviewing the propriety of the search warrant, the Court considers “the evidence that the issuing

magistrate had before him only ‘to ensure that [he] ha[d] a substantial basis . . . for concluding that

probable cause existed.’” United States v. Jones, 159 F.3d 969, 973 (6th Cir. 1998) (quoting Illinois

v. Gates, 462 U.S. 213, 238-39 (1983)) (alterations in original). In other words, the Court does not

look beyond the four corners of the affidavit in assessing whether it provides probable cause.

               In Franks v. Delaware, 438 U.S. 154, 155, 164 (1978), the Supreme Court examined

whether a defendant ever has the right, pursuant to the Fourth and Fourteenth Amendments, to

contest the truthfulness of sworn statements of fact in a search warrant affidavit. Sworn affidavits

in support of search warrants are, in the first instance, presumed to be valid. Id. at 171.

Nevertheless, a defendant may attack the veracity of factual statements in the affidavit under certain

limited circumstances:


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               [W]here the defendant makes a substantial preliminary showing that
               a false statement knowingly and intentionally, or with reckless
               disregard for the truth, was included by the affiant in the warrant
               affidavit, and if the allegedly false statement is necessary to the
               finding of probable cause, the Fourth Amendment requires that a
               hearing be held at the defendant’s request.


Id. at 155-56; see also United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990). If the defendant

makes this showing and is granted what has come to be known as a “Franks hearing,” he or she must

show by a preponderance of the evidence that the affiant intentionally or recklessly included false

statements, which are necessary to the probable cause finding, in the affidavit. Franks, 438 U.S. at

156; Bennett, 905 F.2d at 934. If the defendant successfully makes this showing, the evidence

gained as a result of the search must be suppressed. Franks, 438 U.S. at 156; Bennett, 905 F.2d at

934.

               Material omissions may also merit a Franks hearing in certain circumstances:

“Although material omissions are not immune from inquiry under Franks, . . . an affidavit which

omits potentially exculpatory information is less likely to present a question of impermissible

official conduct than one which affirmatively includes false information.” United States v. Adkins,

107 F.3d 1213, 1217 (6th Cir. 1997). Thus, “except in the very rare case where the defendant makes

a strong preliminary showing that the affiant with an intention to mislead excluded critical

information from the affidavit, and the omission is critical to the finding of probable cause, Franks

is inapplicable to the omission of disputed facts.” Mays v. City of Dayton, 134 F.3d 809, 816 (6th

Cir.), cert. denied, 524 U.S. 942 (1998). “If the defendant does succeed in making a preliminary

showing that the government affiant engaged in ‘deliberate falsehood’ or ‘reckless disregard for the

truth’ in omitting information from the affidavit, the court must then consider the affidavit including


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the omitted portions and determine whether probable cause still exists.” Adkins, 107 F.3d at 1217.

               In the present case, the Court finds that the Defendant has failed to make the requisite

preliminary showing that would permit the Court to delve behind the face of the affidavit. Although

the Defendant offers proof of the omitted fact (CS-2's return to criminal activity) in the form of

Agent Poston’s affidavit, she offers no substantiation of her claim that Agent Bayless either

purposely or recklessly omitted this information from the Bayless Affidavit. Moreover, and perhaps

more importantly, if this Court were to consider the omission along with the other information in

the affidavit, it would find that CS-2's return to criminal activity has no bearing upon the probable

cause analysis. Agent Bayless’s affidavit already states [Doc. 181, ¶7] that “CS-2 was arrested by

8th JDTF Agents and is currently on probation in the state of Tennessee for drug charges. CS-2 has

agreed to cooperate in the hopes of reducing his liability for these pending state drug charges.”

Accordingly, the affidavit already informs the issuing judge that CS-2 is part of the criminal milieu,

faces drug charges, and is providing information in order to help himself. The Court finds that the

omission was not material to the probable cause finding. Therefore, a Franks hearing is not

warranted in this case.

                                          (iv) Good Faith

               In the event that the District Court disagrees with this Court’s finding that Agent

Bayless’s affidavit provides probable cause to search Defendant Jessica Wilson’s residence, the

Court will consider the Government’s alternative argument12 that the good faith exception to the


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         The Court notes that the Government makes this alternative argument in responding to
each of the suppression motions analyzed herein. Because this Court perceives the search
warrant for Defendant Wilson’s residence to present the closest call with regard to the probable
cause finding, the Court addresses the good faith exception at this point in the analysis. The

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exclusionary rule bars suppression in this case. The Government argues that even if this Court

determines that Agent Bayless’s affidavit lacks a substantial basis for the issuing judge to find

probable cause to search Defendant Wilson’s house, suppression of the evidence seized from

Wilson’s home is not warranted because the officers reasonably relied on the search warrant in good

faith.   The Government contends that Agent Bayless provided a detailed affidavit, giving

information by reliable confidential informants who were corroborated by recent monitored

telephone calls and the recent execution of search warrants. Thus, the Government asserts that a

reasonably well-trained officer would have relied on the search warrant issued based upon Agent

Bayless’s affidavit. Relying upon United States v. Herring, 129 S. Ct. 695 (2009), the Government

contends that the executing officers acted in good faith and their actions do not warrant the high

societal cost of applying the exclusionary rule.

               At the May 13 hearing, defense counsel13 argued that the good faith exception to the

exclusionary rule does not apply because the search warrant affidavit is so lacking in probable cause

that it was unreasonable for Agent Bayless to believe that probable cause existed. Counsel also

argued that the affiant knowingly misled the issuing judge by omitting the fact that CS-2 was no

longer being used as a confidential source in the investigation. Counsel characterizes this omission

as purposeful because paragraph 7 of the Bayless Affidavit is identical to a portion of Agent

Poston’s affidavit supporting the wiretap application, with the exception of the omission of the


following analysis would apply equally to the searches of Defendant Kevin Trent Bussell’s
Tennessee and Florida residences, Defendant Geneva Bussell’s residence, and Defendant Nicole
Seal’s residence, should the District Court determine that probable cause was lacking to issue
any of those search warrants.
         13
       This argument was made by counsel for Defendant Seal and adopted by counsel for
Defendant Wilson.

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information about CS-2's re-arrest. Accordingly, the Defendant concludes that the information about

CS-2's re-arrest was deliberately removed so that the reviewing judge would view the information

provided by CS-2 more favorably. The Defendant argues that the exclusionary rule must be applied

to suppress all evidence seized from Defendant Wilson’s residence.

               “The general remedy for a Fourth Amendment violation is that evidence obtained due

to the unconstitutional search or seizure is inadmissible.” United States v. Dice, 200 F.3d 978, 983

(6th Cir. 2000); see also Mapp v. Ohio, 367 U.S. 643, 654 (1961) (holding that “all evidence

obtained by an unconstitutional search and seizure [is] inadmissible in federal court”); Weeks v.

United States, 232 U.S. 383, 398-99 (1914) (establishing the exclusionary rule as the remedy for

violations of the Fourth Amendment). However, the exclusionary rule is not applied automatically

upon a finding of a Fourth Amendment violation. See Herring, 129 S. Ct. at 700. Exclusion of

evidence is “a judicially created rule . . . ‘designed to safeguard Fourth Amendment rights generally

through its deterrent effect.’” Id. at 699 (quoting United States v. Calandra, 414 U.S. 338, 348

(1974)). The exclusionary rule applies only where “its remedial objectives are thought most

efficaciously served,” Arizona v. Evans, 514 U.S. 1, 11 (1995), and where it “‘results in appreciable

deterrence.’” Herring, 129 S. Ct. at 700 (quoting United States v. Leon, 468 U.S. 897, 909 (1984)).

“‘[T]o the extent that application of the exclusionary rule could provide some incremental deterrent,

that possible benefit must be weighed against [its] substantial social costs.’” Herring, 129 S. Ct. at

700 (quoting Illinois v. Krull, 480 U.S. 352-53 (1987)). In the end, the decision to suppress

evidence “turns on the culpability of the police and the potential for exclusion to deter wrongful

police conduct.” Id. at 698.

               In the present case, the Government contends that Agent Bayless and the executing


                                                 53


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officers acted in good-faith reliance on the search warrant for Defendant Wilson’s home issued by

Judge Estep. In United States v. Leon, the Supreme Court recognized that the deterrent effect of the

judicially created exclusionary rule did not extend to situations in which an officer in objective good

faith obtains a search warrant from a judge and acts within the scope of that warrant. 468 U.S. 897,

920 (1984). “In the ordinary case, an officer cannot be expected to question the [judge’s] probable-

cause determination or his judgment that the form of a warrant is technically sufficient. . . . .

Penalizing the officer for the [judge’s] error, rather than his own, cannot logically contribute to the

deterrence of Fourth Amendment violations.” Id. at 921.

                The fact that a judge has issued a warrant typically will establish that the officer has

conducted the search pursuant to said warrant in good faith, but the officer’s reliance upon the

warrant must be objectively reasonable. Id. at 922. In other words, the good-faith inquiry turns

upon “whether a reasonably well-trained officer would have known that the search was illegal

despite the [judge’s] authorization.” Id. at 922 n.23. In creating this standard, the Supreme Court

set out four situations in which suppression pursuant to the exclusionary rule applies despite the

officer’s reliance upon a judicially-issued search warrant: (1) “if the . . . judge in issuing a warrant

was misled by information in an affidavit that the affiant knew was false or would have known was

false except for his reckless disregard for the truth,” (2) if the issuing judge “wholly abandoned his

judicial role” requiring neutral detachment and, in essence, acted as “‘an adjunct law enforcement

officer,’” (3) if the “warrant [was] based on an affidavit ‘so lacking in indicia of probable cause as

to render official belief in its existence entirely unreasonable,’” and (4) if “the warrant [is] so

facially deficient–i.e., in failing to particularize the place to be searched or the things to be

seized–that the executing officers cannot reasonably presume it to be valid.” Id. at 923 (quoting Lo-


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Ji Sales, Inc. v. New York, 442 U.S. 319, 326-27 (1979) and Brown v. Illinois, 422 U.S. 590, 610-11

(1975) respectively). The Defendant relies on the first and third of these “exceptions” to the good

faith exception.

               First, the Defendant argues that Agent Bayless deliberately mislead the issuing judge

by failing to include in the search warrant affidavit the fact that CS-2 had returned to criminal

activity after agreeing to work as a confidential informant and had been arrested for his renewed

criminal conduct. In support of this contention, the Defendant argues that paragraph 7 of the

Bayless Affidavit is identical to a portion of Agent Poston’s affidavit supporting the wiretap

application, except for the admission of the information about CS-2's arrest.14 The Court finds that


       14
         The Court finds that examination of the actual language in the affidavits does not
necessarily support the Defendant’s contention. The Defendant provides no citation to the
portion of the affidavit supporting the wiretap application to which she refers. First, the Court
notes that there are two affidavits by Agent Bethel Poston supporting separate applications for
wiretaps. The first affidavit was filed on October 20, 2010, in support of the application to tap
Kevin Trent Bussell’s home telephone. It states as follows, with regard to CS-2's criminal
history:

               CS-2 was arrested by 8th JDTF Agents and is currently charged
               with state drug offenses. CS-2 has agreed to cooperate in the
               hopes of reducing his liability for these pending state drug charges.
               Much of the information he has provided has been corroborated
               independently by law enforcement and public record information,
               along with other information provided by other confidential
               sources. CS-2 has agreed to testify.

[Doc. 327, Oct. 20, 2010 affidavit, ¶12.b.] Agent Poston filed a second affidavit on November 5,
2010, in support of an application to tap a cellular telephone to which Kevin Trent Bussell
subscribed. The portion of Agent Poston’s November 5, 2010 affidavit relevant to CS-2's
criminal history states:

               CS-2 was arrested by 8th JDTF Agents and is currently charged
               with state drug offenses. CS-2 was later arrested by the Tampa,
               Florida Poolice [sic.] Department and is currently charged with
               Florida state drug offenses. CS-2 has agreed to cooperate in the

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the omission of the information on CS-2's re-arrest, even if deliberate, was not necessarily done with

the intent to mislead the judge reviewing the search warrant. Agent Poston states in his November

5, 2010 affidavit supporting the wiretap application that information provided by CS-2 after his re-

arrest was later corroborated and believed to be reliable.15 Thus, the Court finds that it would have



                 hopes of reducing his liability for these pending state drug charges.
                 Much of the information he has provided has been corroborated
                 independently by law enforcement and public record information,
                 along with other information provided by other confidential
                 sources. CS-2 has agreed to testify.

[Doc. 327, Nov. 5, 2010 affidavit, ¶12.b. (italics added)] In contrast, the pertinent part of
paragraph 7 of Agent Bayless’s affidavit, which was signed on November 26, 2010, states:

                 CS-2 was arrested by 8th JDTF Agents and is currently on
                 probation in the state of Tennessee for drug charges. CS-2 has
                 agreed to cooperate in the hopes of reducing his liability for
                 pending state drug charges. Much of the information he has
                 provided has been corroborated independently by law enforcement
                 and public record information, along with other information
                 provided by other confidential sources.

[Doc. 181, ¶7] Thus, the Court finds that paragraph 7 differs in more than just the deletion of the
Tampa arrest. Nevertheless, the Court will address the spirit of the Defendant’s argument, that
Agent Bayless omitted the information on the Tampa arrest in order to mislead the issuing judge.
       15
            Agent Poston includes the following footnote in his November 5, 2010 affidavit:

                 ADCOCK is the same person as “CS-2” referenced throughout this
                 affidavit and the exhibit affidavit attached hereto. As noted in
                 paragraph 43, on October 20, 2010, after previously having
                 provided truthful and reliable information to law enforcement
                 (which was used in the exhibit affidavit attached hereto),
                 ADCOCK was arrested in Tampa, Florida. ADCOCK again
                 provided information to law enforcement which has been
                 independently corroborated and found to be reliable. Given his
                 reentry into the organization, however, CS-2 will not be used in
                 the future. Furthermore, although all information he has provided
                 has proved to be reliable, as independently corroborated by law
                 enforcement, he has not been used proactively in this investigation

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been objectively reasonable for Agent Bayless to conclude the information on the re-arrest was

unnecessary (1) because the affidavit already included information on CS-2's criminal activity and

desire to help himself by providing information and (2) because all the information that CS-2 had

provided was reliable, despite his re-arrest and the DEA’s decision to no longer use him as a

confidential informant. Accordingly, the Court finds the information before it does not support a

finding that Agent Bayless purposely attempted to mislead the issuing judge.

               Second, the Defendant contends that the affidavit supporting the search warrant for

Defendant Wilson’s home was so lacking in probable cause that Agent Bayless could not have

reasonably relied upon it. The Supreme Court recognized in Leon that “no reasonably well trained

officer . . . . would . . . manifest objective good faith in relying on a warrant based on an affidavit

‘so lacking in indicia of probable cause as to render official belief in its existence entirely

unreasonable.’” 468 U.S. at 923 (quoting Brown v. Illinois, 422 U.S. 590, 610–611 (1975) (Powell,

J., concurring in part)). In Carpenter, the Sixth Circuit examined this standard in the context of a

search warrant affidavit that failed to establish a nexus between the place to be searched and the

evidence sought. 360 F.3d at 596. First, the appellate court cautioned against blurring the

reasonable basis standard required under the good faith exception and the substantial basis standard

required for finding probable cause. Id. Instead, an affidavit containing “a minimally sufficient

nexus between the illegal activity and the place to be searched,” as compared to an affidavit

containing no nexus whatsoever, justifies an officer’s reliance on the warrant, even if the

information falls short of establishing probable cause. Id. Thus, in Carpenter, the court determined


               (i.e., to conduct controlled purchases).

[Doc. 327, Nov. 5, 2010 affidavit, ¶7 n.1]

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that the affidavit’s vague connection between the marijuana field observed by the police and the

house they sought to search (that the marijuana was growing “near” the house and that a road

connected the house and the marijuana plants), while insufficient to establish probable cause, was

“not so vague as to be conclusory or meaningless.” Id.

               As pointed out by the Government, Agent Bayless’s affidavit is not “bare bones” or

conclusory. Instead, the eleven-page affidavit contains information from three confidential

informants, information gleaned from police surveillance, information gained during the search of

other locations linked to the drug trafficking conspiracy, and information from a monitored

telephone conversation. The Government also argues that Agent Bayless’s reliance on the search

warrant was reasonable in light of the Sixth Circuit case law permitting the inference of a nexus

between a drug trafficker’s residence and the evidence of drug trafficking. The Government cites

the Court to United States v. Higgins, in which the majority found that the search warrant was not

based upon probable cause because the informant was not shown to be reliable. 557 F.3d 381, 390-

91 (6th Cir. 2009). Nevertheless, the court found that the good faith exception served to bar the

application of the exclusionary rule:

               In this case, the police had received information from a named
               informant who, in the course of admitting that he had committed a
               crime, told police that he had purchased drugs from Higgins’s address
               earlier that day. As discussed above, the police had not worked with
               the informant before and did not know whether drugs had been sold
               or seen inside Higgins’s residence, but a magistrate did issue a
               warrant based on the facts included in the affidavit. This circuit’s
               holdings indicate that a nexus between the place to be searched and
               the item to be seized may sometimes be inferred. See United States
               v. Williams, 544 F.3d 683 (6th Cir. 2008). Here the warrant
               contained a sufficient link between Higgins’s home and drug activity
               such that a reasonably well-trained officer would not have known that
               the search was illegal. See Carpenter, 360 F.3d at 596. Accordingly,


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               we conclude that exclusion is inappropriate and the evidence
               stemming from the search should not be suppressed.
 Id. at 391.

               In the instant case, the Court finds that like the affidavit in Carpenter, Agent

Bayless’s affidavit does contain a minimal link between the evidence of drug trafficking sought and

Defendant Wilson’s residence, i.e., CS-1's statement that Kevin Trent Bussell told him that he had

taken guns, specifically an Uzi, to Defendant Wilson. This in connection with CS-1's statement that

he accompanied Bussell when he also hid guns at his other sister Nicole Seal’s house, serves to

relate the hiding of firearms to Defendant Wilson’s home. This information provides an objectively

reasonable basis for Agent Bayless to believe that the search warrant based thereon was valid. In

discerning this minimal link, the Court does not, however, rely on an inference that drug traffickers

keep evidence of their crimes in their homes because, unlike in the Higgins case cited by the

Government, none of the confidential informants in this case personally linked Defendant Wilson

to drug trafficking.

               In so finding, the Court is guided by the Supreme Court’s cautionary instructions to

courts in the position of reviewing search warrants for probable cause:

               [T]he Fourth Amendment’s commands, like all constitutional
               requirements, are practical and not abstract. If the teachings of the
               Court’s cases are to be followed and the constitutional policy served,
               affidavits for search warrants, such as the one involved here, must be
               tested and interpreted by magistrates and courts in a commonsense
               and realistic fashion. They are normally drafted by nonlawyers in the
               midst and haste of a criminal investigation. Technical requirements
               of elaborate specificity once exacted under common law pleadings
               have no proper place in this area. A grudging or negative attitude by
               reviewing courts toward warrants will tend to discourage police
               officers from submitting their evidence to a judicial officer before
               acting.


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Ventresca, 380 U.S. at 108. Moreover, the recent case of Herring provides that to “trigger the

exclusionary rule, police conduct must be sufficiently deliberate that exclusion can meaningfully

deter it, and sufficiently culpable that such deterrence is worth the price paid by the justice system.”

Id. at 702. In other words, “the exclusionary rule serves to deter deliberate, reckless, or grossly

negligent conduct, or in some circumstances recurring or systemic negligence.” Id. The Court finds

no evidence that Agent Bayless was acting recklessly or with gross negligence in bringing the

instant affidavit or in relying upon the search warrant issued therefrom. Moreover, the Court finds

that a reasonably well-trained officer who presents an affidavit containing information from

confidential informants, police surveillance, monitored telephone conversations, and the execution

of other search warrants to a reviewing judge would be objectively justified in relying on the judge’s

probable cause determination. Accordingly, the Court finds that the exclusionary rule should not

be applied to suppress the evidence seized from Defendant Wilson’s home.




                                          B. Particularity

                Defendants Kevin Trent Bussell and Geneva Bussell argue [Docs. 204, 206, and

207],16 that the search warrants for Kevin Trent Bussell’s Tennessee and Florida residences and the

search warrant for Geneva Bussell’s Tennessee residence fail to particularize the items to be seized

thereby giving the executing officers unlimited discretion. They contend that because Attachment

G to the search warrants permitted the officers to seize virtually everything in their homes, the


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         Defendant Kevin Trent Bussell also faults [Doc. 205] the particularity in the search
warrant authorizing the search of his houseboat, but the Government responds [Doc. 219] that
nothing was seized from the houseboat. Accordingly, the Court agrees with the Government that
this motion should be denied as moot.

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search warrants were, in fact, invalid general warrants. Accordingly, they argue that all of the

evidence seized from their Tennessee and Florida residences must be suppressed. The Government

responds [Docs. 218 and 220] that the lists of items to be seized from the various residences were

as particular as the circumstances and nature of the drug trafficking and money laundering crimes

under investigation permitted and that the basis for seeking each category of property was supported

in the affidavits. Additionally, it argues that if the Court finds some portions of the search warrants

to be overly broad, then the remedy is suppression of any evidence seized pursuant to those portions

of the warrants, not the suppression of all evidence seized during the searches.

               The Fourth Amendment requires that “[n]o warrants shall issue, but upon probable

cause, supported by oath or affirmation, and particularly describing the place to be searched and the

persons or things to be seized.” U.S. Const. am. IV. The particularity requirement forecloses the

opportunity for a general search and “prevents the seizure of one thing under a warrant describing

another” by restricting the discretion of the executing officer. Marron v. U.S., 275 U.S. 192, 196

(1927). “‘A general order to explore and rummage through a person’s belongings is not permitted.

The warrant must enable the searcher to reasonably ascertain and identify the things which are

authorized to be seized.’” United States v. Savoy, 280 F. App’x 504, 510 (6th Cir.) (quoting United

States v. Cook, 657 F.2d 730, 733 (5th Cir. 1981)), cert. denied, 129 S. Ct. 742 (2008). “The

particularity requirement eliminates the ‘danger of unlimited discretion in the executing officer’s

determination of what is subject to seizure.’” Id. (quoting United States v. Savoca, 761 F.2d 292,

298-99 (6th Cir. 1985)). “[T]he degree of specificity required is flexible and will vary depending

on the crime involved and the types of items sought.” United States v. Henson, 848 F.2d 1374, 1383

(6th Cir. 1988). The description of items to be seized pursuant to a search warrant is sufficient “‘if


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it is as specific as the circumstances and the nature of the activity under investigation permit.’” Id.

(quoting United States v. Blum, 753 F.2d 999, 1001 (11th Cir. 1985)).

               In the instant case, the search warrants for Kevin Trent Bussell’s [Doc. 204, Exh. 1]

and Geneva Bussell’s17 Tennessee residences lists the property to be seized as contained in

“Attachment G which is attached hereto and incorporated herein.” Attachment G states “[t]he

records to be seized include the following items for the time period December 31, 2006, through the

present:” and lists twenty-one categories of items. The Defendants argue that Attachment G is

comprised of boilerplate language, essentially permitting the executing officers to seize anything

and everything from their homes. Relying on a Tenth Circuit case, they contend that when officers

seize property in gross excess of that permitted by the search warrant, the warrant becomes a general

warrant and all the evidence seized pursuant to that warrant must be suppressed. See United States

v. Medlin, 842 F.2d 1194, 1199 (10th Cir. 1988). They specifically challenge the following

categories from Attachment G as being overly broad:

               e. Travel related documents including itineraries, tickets, notices,
               credit card receipts, travel schedules, travel receipts, passports, airline
               receipts, bus tickets, vehicle rental receipts, credit card receipts,
               travel schedules, diaries, day planners, hotel receipts, logs, travel
               agency vouchers, and notes;


               h. United States and/or foreign currency, automobiles, boats,
               recreational vehicles, other vehicles, home furnishings, safes, stocks,
               bonds, financial instruments and investments, precious metals and
               gemstones, jewelry, electronic equipment and other assets which may
               constitute the proceeds of the sale of narcotics;


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         Although Geneva Bussell did not file a copy of the search warrant authorizing the
search of her home in the record, the Court has checked the original warrant that it has on file
[3:10-MJ-2153] and notes that Attachment G is identical to that in the search warrant for Kevin
Trent Bussell’s Tennessee residence.

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               o. Electronic equipment and their contents, containing information
               related to the transportation, ordering, purchasing, processing, storage
               and distribution of controlled substances, and the proceeds there
               from, including pagers (digital display beepers), telephone answering
               machines, electronic data organizers, telephone caller identification
               boxes, video and audiocassette tapes, CD’s, DVD’s and any stored
               electronic communications contained therein;


               q. Photographs of all adults, vehicles, real estate, jewelry, currency,
               furs, boats, and/or substances having the appearance of narcotics,
               including still photos, negatives, videotapes, CD’s, films, slides,
               undeveloped film and the contents therein;


               u. Computer system hardware, including, but not limited to word
               processing equipment, modems, monitors, printers, plotters,
               encryption circuit boards, optical scanners, and other computer
               related devices, and software, including floppy disks and any other
               medium which is capable of storing magnetic tape or optical coding,
               software programs, and any other programs, or software used to
               communicate with computer hardware or peripherals either directly
               or indirectly via telephone lines, radio, or other means of
               transmission, computer manuals relating to the operation of a
               computer system, computer software, and/or any related device
               relating to but not limited to the purchase, transportation, ordering,
               sale and distribution of illegal controlled substances and/or records,
               relating to the receipt and disposition of the proceeds from the
               distribution of illegal controlled substances.


               The search warrants for Kevin Trent Bussell’s Florida residences [Docs. 206, Exh.

1, and 207, Exh. 1] list the items to be seized as follows: “Please see attachment B which is attached

hereto and incorporated herein.” Attachment B states “[t]he records to be seized include the

following items for the time period December 31, 2006, through the present:” and lists the same

twenty-one categories of items as listed in Attachment G to the Tennessee search warrants. In the

Florida search warrants, the issuing Magistrate Judge Anthoney E. Porcelli scratched out categories

“k. All business records;” as well as o. and u. set out above. Judge Porcelli also crossed out


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portions of categories h. and j., so that they read as follows:

               h. United States and/or foreign currency. automobiles, boats,
               recreational vehicles, other vehicles, home furnishings, safes, stocks,
               bonds, financial instruments and investments, precious metals and
               gemstones, jewelry, electronic equipment and other assets which may
               constitute the proceeds of the sale of narcotics;


               j. All financial statements, accounting records, [Any] receipts, and
               invoices.


Defendant Kevin Trent Bussell argues that these alterations show that Attachment G was overly

broad. Despite these alterations, he also argues that the search warrants for his Florida residences

are not sufficiently particular. Presumably, he challenges categories e. and q. in Attachment B to

the Florida search warrants, which are identical to those same sections of Attachment G to the

Tennessee search warrants.

               Accordingly, the Court will examine the particularity of the five categories

challenged by the Defendants.

(1) Notes

               The Defendants argue that the term “notes” in category e. in the attachments to both

the Tennessee and Florida search warrants is overly broad and essentially permits the seizure of

anything written in the residences. The Government responds that the Defendants’ misconstrue the

breadth of the term “notes.” It argues that the words in each of the categories must be read in

relation to the other words in that category. Thus, the Government contends that “notes” means only

those notes related to travel, as is evident by reading the term in the context of the entire category.

The Government asserts that the Master Affidavit supports the seizure of documents and notes



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relating to the Defendants’ travel because the modus operendi of the conspiracy was for the

coconspirators to travel outside of Tennessee to acquire prescription drugs that would be sold upon

their return.

                The Court agrees with the Government that category e. and the term “notes”

contained therein is sufficiently particular. “[N]otes” must be read in conjunction with “[t]ravel

related documents including,” which is followed by a list of documents, like “notes,” that constitute

travel-related documents. The Court also observes that the term “notes” and all of category e. is

further restricted by the date limitation that heads both attachments, which restricts all materials that

may be seized to those “for the time period December 31, 2006, through the present[.]” Additionally,

the Court agrees that the Master Affidavit and the Barto Affidavits provide a basis for the seizure

of travel-related documents because the affidavits relate how the members of the conspiracy traveled

to Michigan, Georgia, and particularly Florida to obtain prescription medication that they would

then transport back to Tennessee to sell. Accordingly, the Court finds that category e. in

Attachments B and G is not overly broad.

(2) Drug Proceeds

                The Defendants argue that the search warrant permitted the executing officers to

exercise unfettered discretion as to what constituted “assets which may constitute the proceeds of

the sales of narcotics” in category h. The Defendants cite to United States v. Popham, in which the

Eastern District of Michigan assessed the particularity of a search warrant authorizing the seizure

of “‘items of value being proceeds of or used to facilitate trafficking controlled substances’”:

                When viewed against the background of the affidavit, the most that
                can be established in this case is that the affiant learned from other
                cases that sometimes drug manufacturers have valuable things near

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               their place of operations, and occasionally those valuables were
               acquired with the proceeds of drug sales. In this case, there is no
               information that such valuable things actually would be found on the
               premises, or that any sale of contraband occurred on the premises or
               by the defendants. The premises also was used mainly as a dwelling,
               where one might expect a person to keep his possessions, ill-gotten
               or not, so the link between property and illegal activity was tenuous
               without more information. There was no basis outlined in the
               warrant for distinguishing between valuable items that were drug
               proceeds and those that were not. The challenged provision in the
               search warrant, therefore, amounted to an authorization to the police
               to seize everything of value found on the property, which is exactly
               what they did.


382 F. Supp. 2d 942, 955 (E.D. Mich. 2005), aff’d 250 F. App’x 170 (6th Cir. 2007). The

Defendants argue that, like in Popham, the instant search warrant gives no guidance to the executing

officers as to how to determine whether an item in the residences constituted an asset gained through

drug proceeds. The Defendants argue that the fact that Judge Porcelli struck this language from the

Florida search warrants indicates that the language is overly broad. They contend that essentially

this portion of the search warrants permitted the executing officers to seize everything in their

Tennessee residences.

               At the May 13 hearing, the Government argued that the search warrant affidavit

supports category h. of Attachment G, permitting the seizure of any items of value in the home as

derived from drug proceeds because the Master Affidavit shows that Kevin Trent Bussell had no

legitimate income. Thus, it contended that everything in the Defendants’ homes could be seized as

drug proceeds or assets derived therefrom. Alternatively, it argues that if this portion of Attachment

G is overly broad, then the remedy is for the Court to suppress only those items that the Court finds

were seized pursuant to this language, not everything seized pursuant to the search warrants for the

Tennessee residences.

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               Category h. permits the seizure of “United States and/or foreign currency,

automobiles, boats, recreational vehicles, other vehicles, home furnishings, safes, stocks, bonds,

financial instruments and investments, precious metals and gemstones, jewelry, electronic equipment

and other assets which may constitute the proceeds of the sale of narcotics.” The Court finds that

the Master Affidavit provides a basis for seizing some of the items listed in category h. as drug

proceeds. First, the affidavit is replete with evidence showing that currency found in Kevin Trent

Bussell and Geneva Bussell’s homes constituted drug proceeds. CS-1 stated [Doc. 218, Exh. 3, ¶22]

that he has helped Bussell count $300,000 in cash from drug sales at Bussell’s Tennessee residence.

Additionally, an intercepted telephone call from Bussell’s Tennessee residence on November 5,

2010 [Doc. 218, Exh. 3, ¶57] , shows that coconspirators had counted out $23,002 at Bussell’s

residence. Other portions of the affidavit [Doc. 218, Exh. 3, ¶¶22 (Kevin Trent Bussell tells CS-1

to leave the cash from his pill purchase under the flower pot at Geneva Bussell’s residence) and 57

(Kevin Trent Bussell tells Trent Mason to take $23,002 to “mom”)] show currency from drug sales

being taken to Geneva Bussell’s residence.

               Second, the Master Affidavit also supports the seizure of “automobiles, boats,

recreational vehicles, other vehicles” as either drug proceeds or the instrumentalities of the crimes.

Paragraph 58 relates an intercepted telephone call in which Kevin Trent Bussell directs Jeff Adcock

to take Bussell’s truck to retrieve and deliver pills. Police surveillance [Doc. 218, Exh. 3, ¶¶34-38

and 79-81] shows Bussell using his Ford F250 pickup truck and his Nissan Armada to transport

coconspirators to Florida to obtain prescription drugs. Paragraphs 65-66 detail police surveillance

of suspected drug sales from Bussell’s houseboat and using his jet skis.

               Third, the Court finds that the affidavit also supports the seizure of safes as


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instrumentalities for storing drugs and drug proceeds. CS-1 made a video recording [Doc. 218, Exh.

3, ¶24.b.] of an open safe in Kevin Trent Bussell’s Florida home containing pills and cash. It is

reasonable to infer that if Bussell had a safe in his Tennessee residence, he also might store drugs

and proceeds in it.

                The affidavit, however, does not provide much support for the seizure of “home

furnishings, . . ., stocks, bonds, financial instruments and investments, precious metals and

gemstones, jewelry, electronic equipment and other assets which may constitute the proceeds of the

sale of narcotics.” Only the statements of Agent Nelson [Doc. 218, Exh. 3, ¶8.c. and f.] that based

upon his training and experience,

                [d]rug traffickers commonly profit and amass proceeds from the sale
                of drugs. In order to protect their illegal activity and be able to utilize
                their drug profits, they attempt to disguise and legitimatize these
                profits through money laundering activities.
                ...
                Drug traffickers maintain records pertaining to their acquisition,
                conversion, movement, secreting, transfer, concealment and/or
                expenditure of drug proceeds, such as: currency, financial
                instruments and investments, real estate, automobiles, boats, other
                vehicles, home furnishings, stocks, bonds, precious metals and
                gemstones, jewelry, electronic equipment and other assets in the form
                of books, records, invoices, receipts, records of real estate
                transactions, purchase agreements, automobile titles, bank statements,
                financial statements, letters of credit, money orders, cashier’s checks,
                safe deposit box agreements and keys, and money wrappers[,]”


suggest that the remaining items listed in category h. would be evidence of drug trafficking proceeds

in this case.

                The Government correctly points out that the Master Affidavit [ Doc. 218, Exh, 3,

¶¶39-46] suggests that, based on bank records obtained by grand jury subpoena, Kevin Trent Bussell


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did not have a legitimate source of income consistent with his display of wealth from late summer

2008 through November 2010. Nevertheless, the Court does not conclude from this that the officers

could have seized all of his possessions as gained through drug proceeds, particularly when it notes

[Doc. 218, Exh. 3, ¶43], that the bank records reveal that the Defendant’s checking account showed

the typical deposits and withdrawals for a trucking business from January 2006 through July 2008.

Accordingly, the Court finds that jewelry or home furnishings or other possessions could have been

purchased by Bussell prior to July 2008 and that the search warrant provides no way for the

executing officers to distinguish those assets that constitute drug proceeds. The Government cites

the Court to United States v. Greene, 250 F.3d 471, 477(6th Cir. 2001). In Greene, the parties

agreed that a “catch all” clause in the search warrant permitting the seizure of “‘any other property

that which (sic) is not identified as the occupant’s personal property,’” following a detailed list of

stolen items, was overly broad and gave the officers excessive discretion in determining what to

seize. Id. The Court finds that the list of “home furnishings, . . ., stocks, bonds, financial

instruments and investments, precious metals and gemstones, jewelry, electronic equipment and

other assets which may constitute the proceeds of the sale of narcotics” also includes a catch-all

phrase that essentially swallows the detailed items in the other categories of the search warrant.

Accordingly, the Court finds that this portion of the search warrant, particularly the phrase “other

assets which may constitutes the proceeds of the sale of narcotics” is either unsupported by the

Master Affidavit or not sufficiently particular or both.

               The Defendants argue that because this portion of Attachment G essentially permitted

the seizure of everything in their residences, the search warrant should be deemed to be a general

warrant and all evidence seized in the search of their homes must be suppressed. The Court


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disagrees. “[T]he remedy for an overly broad warrant is to sever the overly broad portions of the

warrant from those portions that are sufficiently particular.” United States v. Ford, 184 F.3d 566,

578 (6th Cir. 1999). Accordingly, in Greene, the court concluded that “severance of the ‘catch-all’

clause does not change the scope of the search or impugn the validity of the seizure” of evidence

coming under the other sufficiently particular descriptions of items to be seized. Greene, 250 F.3d

at 477. Thus, in the instant case, the Court finds that a part of category h., to wit “home furnishings,

. . ., stocks, bonds, financial instruments and investments, precious metals and gemstones, jewelry,

electronic equipment and other assets which may constitute the proceeds of the sale of narcotics”

is overly broad, and that those items seized solely with respect to this language, and not coming

within another category or the remainder of category h. or not seized pursuant to an exception to the

warrant requirement, should be suppressed. The Court will address whether any of the items raised

by Defendant Kevin Trent Bussell as being improperly seized fall within this language in the next

section on the execution of the search warrant.18

(3) Electronic Equipment

               The Defendants also challenge the search warrant’s authorization of the seizure of

electronic equipment as being overly broad. Attachment G states [Doc. 204, Exh. 1] that the officers

may seize



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          Defendant Geneva Bussell does not point to any items of evidence that she contends
were improperly seized in the search of her home. The Court has briefly reviewed the Inventory
Listing of All Items Seized at Search Warrant Site [3:10-MJ-2153] for the search of her
residence and finds that all of the items seized were either controlled substances, empty pill
bottles, currency, firearms and ammunition, records and receipts relating to controlled substances
or healthcare providers, computers, and a Ford Thunderbird and its vehicle registration.
Accordingly, the Court finds that all of the items seized appropriately come within Attachment
G.

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               o. Electronic equipment and their contents, containing information
               related to the transportation, ordering, purchasing, processing, storage
               and distribution of controlled substances, and the proceeds there
               from, including pagers (digital display beepers), telephone answering
               machines, electronic data organizers, telephone caller identification
               boxes, video and audiocassette tapes, CD’s, DVD’s and any stored
               electronic communications contained therein;


‘for the time period December 31, 2006, though the present[.]” The Court finds that the attachment

limits the seizure to only that electronic equipment that contains information regarding drug

trafficking or the proceeds of drug trafficking since December 31, 2006. Agent Nelson states [Doc.

218, Exh. 3, ¶8.j.] in the Master Affidavit that based upon his experience and training, drug

traffickers use electronic equipment to conduct their drug trafficking activities and to store

information therefrom. The Master Affidavit also contains numerous references to Kevin Trent

Bussell and Geneva Bussell using an electronic device, namely their telephones, in the drug

conspiracy. Accordingly, the Court finds that the language permitting the seizure of electronic

equipment is not overly broad and, instead, is as specific as the circumstances of the drug trafficking

under investigation permit.

(4) Photographs

               The Defendants contend that category q. of the attachments to the search warrants

for both their Tennessee and Florida residences, which permits the seizure of photographs, is overly

broad. Category q. reads as follows:

               q. Photographs of all adults, vehicles, real estate, jewelry, currency,
               furs, boats, and/or substances having the appearance of narcotics,
               including still photos, negatives, videotapes, CD’s, films, slides,
               undeveloped film and the contents therein[.]


The Court finds that the language of category q. serves to limit officer discretion. Officers are not

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allowed to seize every photograph (or negative, videotape, CD, film, or slide) in the houses. Instead,

they are only permitted to seize those photographs from December 31, 2006, forward, that might

reveal evidence of the prescription pill trafficking conspiracy or of money laundering. For example,

this language does not permit the executing officers to seize photographs of Kevin Trent Bussell’s

children or Geneva Bussell’s minor grandchildren (unless the photograph also includes one of the

specified person’s or objects, like substances appearing to be narcotics).

               The Master Affidavit provides a basis for the issuing judge to authorize the seizure

of photographs of drug conspirators or proceeds. Agent Nelson states [Doc. 218, Exh. 3, ¶8.i.] that

based upon his training and experience, “[d]rug traffickers take or cause to be taken photographs or

video movies of themselves, their associates, their property and assets, and their product.” The

Master Affidavit also reveals [Doc. 218, Exh. 3, ¶24] that CS-1 made a video and audio recording

of Kevin Trent Bussell meeting with coconspirators about visiting pain clinics and of drugs and

proceeds in Bussell’s Florida home. The affidavit does not state that this video was made without

Bussell’s knowledge. Accordingly, the Court finds that the Master Affidavit supports the seizure

of photographs of coconspirators, drugs, or proceeds.

               Although the group “all adults” in category q. is broad, it is not unpermissibly so.

The Master Affidavit reveals that numerous coconspirators were in and out of Kevin Trent Bussell’s

Tennessee residence. In one intercepted telephone call [Doc. 218, Exh. 3, ¶51], Amanda Bible,

Bussell’s fiancée, complains about the number of people living in her and Bussell’s home. The

Master Affidavit also shows [Doc. 218, Exh. 3, ¶¶22, and 57-60] that a number of coconspirators

were stopping by Geneva Bussell’s home to deliver drug proceeds or pick up drugs. The Barto

Affidavit establishes as many as thirty coconspirators [Doc. 220, Exh. 1, ¶¶11, 21, and 24] would


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travel to Florida with Kevin Trent Bussell to engage in “doctor shopping” to acquire pills and would

stay at one of Bussell’s two homes while there. Given the number of unrelated adults in the

residences in Florida and Tennessee, the Court finds that the seizure of photographs of adults taken

after December 2006, is as limited as the circumstances of the drug trafficking under investigation

permits.

(5) Computers

                Finally, the Defendants challenge the search warrant’s blanket authorization of the

seizure of computers and all computerized data from their Tennessee residences. They argue that

computes contain multiple gigabytes of data that would be unrelated to the drug conspiracy under

investigation. Category u. of Attachment G permits the seizure of the following:

                u. Computer system hardware, including, but not limited to word
                processing equipment, modems, monitors, printers, plotters,
                encryption circuit boards, optical scanners, and other computer
                related devices, and software, including floppy disks and any other
                medium which is capable of storing magnetic tape or optical coding,
                software programs, and any other programs, or software used to
                communicate with computer hardware or peripherals either directly
                or indirectly via telephone lines, radio, or other means of
                transmission, computer manuals relating to the operation of a
                computer system, computer software, and/or any related device
                relating to but not limited to the purchase, transportation, ordering,
                sale and distribution of illegal controlled substances and/or records,
                relating to the receipt and disposition of the proceeds from the
                distribution of illegal controlled substances


“for the time period December 31, 2006, through the present.” Thus, the search warrants do not

permit the blanket seizure of all computerized data but, instead, permit the executing officers to seize

that data relating to drug trafficking or receipt or distribution of drug proceeds from January 2007

through November 2010. The Court finds that the Master Affidavit permitted the seizure of

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computerized data relating to drug trafficking or drug proceeds. First, Agent Nelson states [Doc.

218, Exh. 3, ¶ 8.b.] that based upon his experience and training, drug traffickers often create records

of their coconspirators, their sources of supply, their customers, money owed by and to them for

drug sales, their drug supplies, and their transportation to acquire and sell drugs. Agent Nelson also

relates [Doc. 218, Exh. 3, ¶ 8. J.] that “[d]rug traffickers often utilize electronic equipment, such as

computers, . . . to generate, transfer, count, record, and/or store the information” described as

records. Also, the Master Affidavit relates [Doc. 218, Exh. 3, ¶ 38] that during the traffic stop and

search of Kevin Trent Bussell’s truck, officer’s seized computer printouts of travel directions to

pharmacies in southern Florida. Accordingly, the Court finds that the Master Affidavit provides a

basis to believe that the Defendants used their computers in relation to their drug trafficking

activities.

               The Defendants challenge the search warrants’ authorization of the seizure of all of

their computer data in order to obtain the data relating to drug trafficking. First, the Court observes

that in order to retrieve the relevant data, the executing officers may properly search through all of

the data on the computers in the Defendant’s homes. The Sixth Circuit has held that officers

executing a search warrant that authorizes the seizure of certain computerized data may seize the

entire computer because it is “unreasonable” to expect police to search the computers for the

relevant data in the defendant’s home. Guest v. Leis, 255 F.3d 325, 334-35 (6th Cir. 2001).

Accordingly, in Guest, the appellate court concluded that “[b]ecause of the technical difficulties of

conducting a computer search in a suspect’s home, the seizure of the computers, including their

content, was reasonable in these cases to allow police to locate the offending files.” Id. at 335. The

Court finds that the seizure of computers from the Defendants houses in this case was also


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reasonable under the circumstances to permit them to conduct an off-site search of the computerized

data for the data that they were permitted to seize.

               Accordingly, the Court finds that the search warrants for Defendant Kevin Trent

Bussell’s Tennessee and Florida residences and Defendant Geneva Bussell’s residence were

sufficiently particular, with the exception of the portion of Attachment G to the search warrants for

the Tennessee residences authorizing the seizure of “home furnishings, . . ., stocks, bonds, financial

instruments and investments, precious metals and gemstones, jewelry, electronic equipment and

other assets which may constitute the proceeds of the sale of narcotics[.]” The Court finds that none

of the items seized from Defendant Geneva Bussell’s home were seized exclusively pursuant to this

language. Accordingly, the Court recommends that Defendant Geneva Bussell’s motion to suppress

for overbreadth be denied. The Court finds that the above quoted portion of overly broad language

in the search warrant for Defendant Kevin Trent Bussell’s Tennessee residence does not require the

suppression of all evidence seized from the home. Instead, the Court will address whether the

overbreadth of this language should result in the suppression of any particular items seized from his

home in the next section.




                                           C. Execution

               Defendant Kevin Trent Bussell argues [Doc. 204] that during the execution of the

search warrants for his Tennessee residence,19 the executing officers seized items outside of the


       19
         Defendant Kevin Trent Bussell also raises this argument with regard to the search of his
houseboat [Doc. 205] and his Florida residences [Docs. 206 and 207]. The Court has already
found that the Defendant’s suppression motion with regard to the search of his houseboat should
be denied as moot, because no evidence was seized as a result of that search. Additionally,

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scope of the search warrants. Specifically, he lists vehicle titles, receipts for furniture, keys to jet

skis and safes, telephone and other bills, receipts for truck parts, and knives as being seized outside

of the scope of the search warrants. He also contends that officers seized computers, which

contained a large amount of data, the seizure of which was not authorized by the search warrants.

He also argues [Docs. 204, 206 and 207] with regard to the searches of his Tennessee and his Florida

residences, that the executing officers failed to note the time of execution on the search warrants in

violation of Rule 41 of the Federal Rules of Criminal Procedure. The Government responds [Doc.

218] that the listed items were properly seized pursuant to the search warrant or under the plain view

doctrine. Additionally, it contends [Docs. 218 and 220] that a copy of the “return” on the back of

the search warrants reveals that the search warrants were executed in compliance with Rule 41.

(1) Scope

                In his motion and at the May 13 hearing, the Defendant argued that the executing

officers seized eight items or categories of items that were not authorized under the search warrant:

(1) vehicle titles, registration, and payments; (2) receipts for furniture, truck parts, and other receipts;

(3) telephone and other bills; (4) uncashed checks; (5) a folder containing trucking operator

settlement summaries; (6) keys to a jet ski and a safe; (7) knives; and (8) computer data.

                The Defendant first contests the seizure of certain vehicle titles, registration, and bills

or invoices because the year of these vehicles is older than the limiting language in Attachment G,



Defendant Bussell fails to point the Court to any items that were improperly seized from his
Florida residences. Accordingly, the Court cannot analyze whether the executing officers seized
items outside of the scope of the search warrants for the Florida residences. Although the
Government provided the inventory of items seized from the two Florida residences as an exhibit
to its response [Doc. 220, Exh. 2], the Court declines the challenge of rummaging through this
list and speculating upon which items Defendant Bussell believes are improperly seized.

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which permitted the seizure of items “for the time period December 31, 2006, through the present[.]”

The Defendant specifically points to invoices for a 2002 Sprint boat, a bill for a 2004 motorcycle,

a 2005 Nissan Armada car title, vehicle registration for a 2006 red Chevy, a payment for a 2006 all

terrain vehicle, a 2002 Yamaha title, a title for a 1995 Pontiac two-door car, a 1964 Chevy 2S title,

and registration for a 2006 blue Ford truck. Category i. of Attachment G expressly authorizes the

seizure of “[a]ll records related to vehicle purchases, auto titles, purchase invoices, [and] service

records[.]” Category s. allows the seizure of documents indicating occupancy, residence or

ownership of the premises, such as “titles and vehicle registrations[.]” The Government argues and

the Court agrees that simply because a vehicle was made before December 31, 2006, does not mean

that the Defendant purchased it before that time. Accordingly, the Court finds that the seizure of

the listed vehicle titles, registration, and invoices or bills was not outside of the scope of the search

warrant.

                Next, the Defendant argues that the seizure of receipts for furniture, receipts from

2007 for truck parts, and various Wal-mart receipts (included in “misc. financial documents”)

violated the search warrant. Similarly, the Defendant challenges the seizure of telephone and other

bills (such as an “ATT phone bill, . . ., sprint payments for 2009, . . . , payments to Kay jewelers, .

. ., child support payments, Discover payments, Chase home financing payments” also listed under

“misc. financial documents”). Paragraph j. of Attachment G permits the seizure of [a]ll financial

statements, accounting records, receipts and invoices[.]” Category s. authorizes the seizure of

“[i]ndicia of occupancy, residency, rental and/or ownership of the premisses described above or

vehicles located thereon, including utility and telephone bills, . . . .”     The Court finds that the

seizure of the listed receipts and bills comes within the scope of the search warrant, particularly


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given that the only dates given to the Court fall within the authorized time period.

                The Defendant also contends that the seizure of uncashed checks was outside of the

scope of the search warrant. The inventory [Doc. 204, Exh. 1, #5] reveals that officers seized

“uncashed checks- Jessie Wilson and Tenn Child Support” from the top of the gun cabinet in the

master bedroom. The inventory [Doc. 204, Exh. 1, #11] also states that the officers seized an

“uncashed $500 check from Chester Wilder for Darien Perry[.]” Category m. of Attachment G to

the search warrant permits the seizure of “[b]ank records, including . . . cancelled checks, . . . [and]

bank checks[.]” The Court finds that uncashed checks fall within this category or in the broader

category j., which permits the seizure of “[a]ll financial statements [or] accounting records[.]” Thus,

the seizure of the uncashed checks was proper.

                At the May 13, 2011 hearing, the Defendant listed “trucking operator settlement

summaries” as being outside of the scope of the search warrant. The inventory [Doc. 204, Exh. 1,

#19] states that officers seized a “Fed Ex folder containing trucking operator settlement summaries”

from the closet of a bedroom in the Defendant’s home. The Defendant did not present this folder

for the Court’s inspection or provide any explanation of the folder or its contents. Accordingly, the

Court does not know what trucking operator settlement summaries are. To the extent that the folder

contains summaries of payments to truckers from the Defendant’s trucking business, the Court finds

that the executing officers could properly seize the summaries as “business records” under category

k. or as “accounting records, receipts, and invoices” under category j. of Attachment G.

                The Defendant argues that the seizure of keys to his jet skis and his safe exceed the

scope of the search warrant. The inventory [Doc. 204, Exh. 1, #11] of the items seized in the search

of the Defendant’s Tennessee home shows that the executing officers took a “Jet Ski key and a Safe

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key” along with a bag of silver coins, various vehicle titles, bills and bank statements, and an

uncashed check from a bedroom in the Defendant’s residence. Category h. of Attachment G permits

the seizure of “automobiles, boats, recreational vehicles, [and] other vehicles[.]” The Court finds

that the executing officers could properly seize the key to the Defendant’s jet ski along with the jet

ski itself. Category t. allows “[t]he opening, search and removal, if necessary, of any safe or locked

receptacle or compartment, including briefcases as some or all of the property heretofore may be

maintained[.] The Court finds that the officers could properly seize a key to a safe as well as a safe

under this provision.

                The Defendant challenges the seizure of knives from his residence. The inventory

[Doc. 204, Exh. 1, #40] states that the executing officers seized “5 case knive [sic.] boxes, ziplock

bag full of case knives and filet knife . . ., a knikfe [sic.] roll iwth [sic.] 11 knives, mason’s commen.

knife” along with holsters and ammunition from under the sink in the master bathroom. Attachment

G does not specifically authorize the seizure of knives. The only part of the Attachment under

which the knives could have been seized is the catch-all phrase in category h., authorizing the

seizure of “other assets which may constitute the proceeds of the sale of narcotics[.]” The Court has

found in the particularity section above that this catch-all phrase is overly broad and that all items

seized pursuant thereto should be suppressed. Accordingly, the Court finds that the listed knives

were improperly seized.

                At the May 13 hearing, the Government summarily argued that the officers properly

seized the knives pursuant to the plain view exception. In order for evidence to fall within the plain

view exception to the warrant requirement, the evidence in question must be “(1) in plain view; (2)

of a character that is immediately incriminating; (3) viewed by an officer lawfully located in a place


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from where the object can be seen; and (4) seized by an officer who has a lawful right of access to

the object itself.” United States v. Roark, 36 F.3d 14, 18 (6th Cir. 1994) (citing Horton v. California,

496 U.S. 128, 136-37 (1990)); see also United States v. Bishop, 338 F.3d 623, 626 (6th Cir. 2003),

cert. denied, 540 U.S. 1206 (2004); United States v. Bradshaw, 102 F.3d 204, 211 (6th Cir. 1996).

In the present case, the agents were lawfully in the Defendant’s residence executing the search

warrants; however, the Court finds that the knives were not immediately incriminating. Although

items seized pursuant to the plain view doctrine are not restricted to contraband, see United States

v. Garcia, 496 F.3d 495, 512 (6th Cir. 2007) (approving the seizure of “zigzag papers, scales, and

green plastic shrink wrap” under the plain view doctrine, when the search warrant only authorized

the seizure of cocaine), there must be “‘probable cause to associate the property with criminal

activity.’” United States v. Calloway, 116 F.3d 1129, 1133 (6th Cir.) (internal quotation omitted),

cert. denied, 522 U.S. 925 (1997). In the instant case, the Court finds that the search warrant

affidavit does not indicate that the Defendant used knives in the perpetration of the drug trafficking

conspiracy, accepted knives in trade for controlled substances, or purchased knives with drug

proceeds. Accordingly, the Court finds that the plain view exception does not apply because the

incriminating nature of the knives is not immediately apparent. The knives must be suppressed.

                Finally, the Defendant challenges the seizure of computers containing in excess of

twenty gigabytes of data, much of which was not appropriately seized under the search warrant. The

Court has already discussed above that the seizure of computers for off-site searches for the data

listed in Attachment G was reasonable. See Guest, 255 F.3d at 334-35. Moreover, the Court

observes that the Master Affidavit provides [Doc. 218, Exh. 3, ¶38] some indication that the

Defendant used his computer to facilitate the commission of the drug trafficking crimes, as


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computerized lists of pharmacies in Florida and directions thereto were found in the search of his

truck when he was en route to a “doctor shopping” excursion in St. Petersburg. Accordingly, the

computers were also properly seized as instrumentalities of the crimes.

                 After reviewing the items listed by the Defendant, the Court finds that only the

seizure of knives from his Tennessee residence exceeded the scope of the search warrant. His

Motion to Suppress No. 1 [Doc. 204] should be granted in part, only with respect to the suppression

of the knives.

(2) Rule 41

                 Defendant Bussell argues [Docs. 204, 206, and 207] that the search warrants for his

Tennessee home and Florida Residences were executed in violation of Federal Rule of Criminal

Procedure 41(f)(1), because the executing officers failed to note the time that they executed the

search warrants on the face of the warrants as required by the rule. The Government contends

[Docs. 218 and 220] that the search warrants do in fact state the time of execution on the attached

returns. Additionally, the Government asserts that the failure to write the time of execution on the

face of a search warrant is a ministerial error that does not result in the suppression of evidence.

                 Rule 41(f)(1)(A) of the Federal Rules of Criminal Procedure provides that “[t]he

officer executing the warrant must enter on it the exact date and time it was executed.” The

Government states that the back of the search warrant for Kevin Trent Bussell’s Tennessee residence

[Doc. 218, Exh. 1, p.2] states that the search warrant was executed on November 23, 2010, at

“approx. 8:20 a.m.” It states that the back of the search warrant for Kevin Trent Bussell’s residence

at 6081 38th Avenue North, St. Petersburg, Florida, [Doc. 206, Exh. 1, p.2] states that the search

warrant was executed at 8:00 a.m., on November 23, 2010. The Government also relates that the

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back of the search warrant for Kevin Trent Bussell’s residence at 6065 38th Avenue North, St.

Petersburg, Florida, [Doc. 207, Exh. 1, p.2] states that the search warrant was executed at 8:12 a.m.,

on November 23, 2010. The Court has checked these exhibits and confirmed that the search

warrants were executed in compliance with Rule 41(f)(1)(A).20




                                 D. Fruit of the Poisonous Tree

               Finally, Defendant Kevin Trent Bussell asks [Doc. 209] the Court to suppress ten

automobiles, boats, and recreational vehicles seized on November 23, 2010, because this property

is the fruit of the illegal searches of his Tennessee and Florida homes and his houseboat, as alleged

in his motions to suppress Nos. 1 through 4. He contends that this property should be returned to

him pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure, as the product of illegal

searches. The Government responds [Doc. 226] that these items were seized pursuant to seizure

warrants under criminal forfeiture law and were not seized as evidence under the search warrants

for the Defendant’s residences and houseboat. It contends that these seizure warrants were

supported by probable cause that the property was subject to forfeiture and that a restraining order

would be inadequate to assure the availability of the property for forfeiture.

               Evidence obtained in derogation of the Fourth Amendment must be excluded from

trial. Wong Sun v. United States, 371 U.S. 471, 485-86 (1963). This “fruit of the poisonous tree



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          Although it is unclear whether Defendant Geneva Bussell is also advancing this
argument, the Court has checked the search warrant for her residence [3:10-MJ-2153] and finds
that the back side of the search warrant states that the warrant was executed at “approx 8:20
a.m.” on November 23, 2010, and that a copy of the search warrant and inventory was left with
Geneva Bussell.

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doctrine” excludes not only that evidence that was illegally seized, but all evidence gained from the

“‘exploitation’” of an illegal search or seizure unless that evidence is sufficiently attenuated from

the illegal actions as to “‘purge[ it] of the primary taint.’” Id. at 488 (citing Maguire, Evidence of

Guilt, 221 (1959)). The Court finds that the ten vehicles and watercraft listed by the Defendant do

not come within the “fruit of the poisonous tree” doctrine for two reasons. First, the Court has not

found that any of the searches of the Defendant’s residences or houseboat violated the Fourth

Amendment. Second, as the Government contends, the items listed by the Defendant were seized

pursuant to their own seizure warrants, which were themselves based upon affidavits,21 and not as

a result of the searches of the Defendant’s residences or houseboat or of any information gained

during those searches. Accordingly, the Court finds that Defendant Kevin Trent Bussell’s Motion

to Suppress No. 5 [Doc. 209] should be denied.




       21
         Nine of the vehicles and watercraft were seized pursuant to warrants issued based upon
the probable cause in the Master Affidavit by Agent Nelson. The tenth vehicle, a turquoise
BMW Z3, was seized pursuant to a seizure warrant issued based upon an affidavit [Doc. 226,
Exh. 1] by IRS Agent Brian Grove.

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                                      IV. CONCLUSION

               After carefully considering the evidence, the parties’ filings and arguments, and the

relevant legal authorities, the Court finds no basis to suppress the evidence seized in the searches

of the Defendants’ homes, with the exception of knives seized from Defendant Kevin Trent

Bussell’s Tennessee residence on November 23, 2010. For the reasons set forth herein, it is

RECOMMENDED that Defendant Kevin Trent Bussell’s Motion to Suppress No. 1 [Doc. 204] be

GRANTED in part, in that the knives seized from his Tennessee residence should be suppressed

because they were outside the scope of items for which the search warrant authorized seizure and

they do not fall within the plain view doctrine, and the motion should be DENIED in all other

respects. The Court recommends that the remaining suppression motions [Docs. 172, 179, 195, 205,

206, 207, and 209] be DENIED.22

                                              Respectfully submitted,
                                                 s/ C. Clifford Shirley, Jr.
                                              United States Magistrate Judge




       22
          Any objections to this report and recommendation must be served and filed within
fourteen (14) days after service of a copy of this recommended disposition on the objecting
party. Fed. R. Crim. P. 59(b)(2) (as amended). Failure to file objections within the time
specified waives the right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United
States v. Branch, 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155
(1985) (providing that failure to file objections in compliance with the required time period
waives the right to appeal the District Court’s order). The District Court need not provide de
novo review where objections to this report and recommendation are frivolous, conclusive, or
general. Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are
reserved for appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370, 1373
(6th Cir. 1987).

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